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        1                           UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TENNESSEE
        2                                    GREENEVILLE

        3
             UNITED STATES OF AMERICA,             .   DOCKET NO. CR-2-19-14
        4                                          .
                     GOVERNMENT,                   .
        5                                          .
                             VS.                   .   GREENEVILLE, TN
        6                                          .   APRIL 9, 2021
             XIAORONG YOU,                         .
        7                                          .
                     DEFENDANT.                    .
        8                                          .
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       11                       TESTIMONY OF THOMAS R. MALLEN
                            BEFORE THE HONORABLE J. RONNIE GREER
       12                UNITED STATES DISTRICT JUDGE, AND A JURY

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        1    APPEARANCES:

        2    FOR THE GOVERNMENT:         U.S. DEPARTMENT OF JUSTICE
                                         OFFICE OF U.S. ATTORNEY
        3                                TIMOTHY CURTIS HARKER, AUSA
                                         220 WEST DEPOT STREET, SUITE 423
        4                                GREENEVILLE, TN 37743

        5                                U.S. DEPARTMENT OF JUSTICE
                                         COMPUTER CRIME AND INTELLECTUAL
        6                                PROPERTY SECTION
                                         MATTHEW R. WALCZEWSKI, AUSA
        7                                950 PENNSYLVANIA AVENUE N.W.
                                         ROOM 3509
        8                                WASHINGTON, D.C. 20530

        9
             FOR THE DEFENDANT:          JESSEE & JESSEE
       10                                THOMAS C. JESSEE, ESQ.
                                         412 EAST UANAKA AVENUE
       11                                JOHNSON CITY, TN 37601

       12                                COLLINS SHIPLEY, PLLC
                                         COREY B. SHIPLEY, ESQ.
       13                                MICHAEL CURTIS COLLINS, ESQ.
                                         128 SOUTH MAIN STREET, SUITE 102
       14                                GREENEVILLE, TN 37743

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       22    COURT REPORTER:             KAREN J. BRADLEY
                                         RPR-RMR
       23                                U.S. COURTHOUSE
                                         220 WEST DEPOT STREET
       24                                GREENEVILLE, TN 37743

       25    PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY, TRANSCRIPT
             PRODUCED BY COMPUTER.



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        1                 MR. HUNTER:    YOUR HONOR, THE UNITED STATES

        2    CALLS TOM MALLEN.

        3            THOMAS R. MALLEN, GOVERNMENT'S WITNESS, SWORN

        4                 THE COURT:    MR. MALLEN, WHILE YOU'RE ANSWERING

        5    QUESTIONS, YOU MAY REMOVE THE MASK; AND SPEAK INTO THE

        6    MICROPHONE, PLEASE.

        7    A.     YES, YOUR HONOR.

        8                 THE COURT:    YOU MAY PROCEED.

        9                            DIRECT EXAMINATION

       10    BY MR. HUNTER:

       11    Q.     GOOD MORNING, MR. MALLEN.

       12    A.     GOOD MORNING.

       13    Q.     WOULD YOU STATE AND SPELL YOUR NAME FOR THE RECORD.

       14    A.     THOMAS R. MALLEN, T H O M A S, R, M A L L E N.

       15    Q.     WHERE DO YOU LIVE?

       16    A.     I LIVE IN ZELIENOPLE, PENNSYLVANIA.

       17                 COURT REPORTER:     WAIT A MINUTE.    WHAT'S THE

       18    NAME OF THE TOWN?

       19    A.     ZELIENOPLE.     I'LL SPELL IT, ZELIENOPLE,

       20    Z E L I E N O P L E.

       21    Q.     WHO DO YOU WORK FOR?

       22    A.     I WORK FOR SHERWIN-WILLIAMS.

       23    Q.     WHAT'S YOUR POSITION AT SHERWIN-WILLIAMS?

       24    A.     I'M THE VICE-PRESIDENT OF COMPLIANCE AND TECHNOLOGY

       25    MARKETING FOR THE PACKAGING GROUP.




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        1    Q.     AND ARE YOU FAMILIAR WITH THE COMPANY VALSPAR?

        2    A.     YES.

        3    Q.     WHAT IS VALSPAR, AND HOW DOES THAT RELATE TO

        4    SHERWIN-WILLIAMS?

        5    A.     SO IN JUNE 1ST OF 2017 SHERWIN-WILLIAMS ACQUIRED

        6    VALSPAR, PART OF WHICH WAS THE PACKAGING GROUP WHICH IS

        7    WHERE I WORKED.

        8    Q.     AND DID YOU COME OVER WITH THE VALSPAR

        9    ACQUISITION?

       10    A.     YES.

       11    Q.     CAN YOU DESCRIBE YOUR ROLE NOW AT

       12    SHERWIN-WILLIAMS?

       13    A.     SO I MAKE SURE THAT THE PRODUCTS THAT WE PUT INTO

       14    THE MARKETPLACE ARE COMPLIANT WITH ALL REGULATORY AGENCY

       15    REQUIREMENTS AROUND THE WORLD, AND I ALSO AS PART OF MY

       16    TECHNOLOGY MARKETING ROLE REACH OUT TO STAKEHOLDERS IN

       17    SOCIETY AND HELP THEM UNDERSTAND THE BENEFITS OF THE

       18    TECHNOLOGY AND ITS CLEARANCES WITH THE REGULATORY

       19    AGENCIES.

       20    Q.     AND AS PART OF THAT ROLE ARE YOU FAMILIAR WITH THE

       21    CHEMISTRIES OF COATING AND COATINGS AND THE DEVELOPMENTS

       22    OF COATINGS FOR THE INSIDE OF CANS?

       23    A.     YES, I AM.

       24    Q.     AND HOW LONG HAVE YOU WORKED AT SHERWIN-WILLIAMS/

       25    VALSPAR?




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        1    A.     THIRTY-TWO AND A HALF YEARS.

        2    Q.     DID YOU START WORKING THERE AFTER YOU GOT OUT OF

        3    COLLEGE?

        4    A.     NO.

        5    Q.     WHERE DID YOU WORK AFTER YOU GOT OUT OF COLLEGE?

        6    A.     SO I HAD A JOB WORKING FOR ARCHER-DANIELS-MIDLAND,

        7    WHICH IS A COMMODITY FOOD MANUFACTURER, AND THEN I WENT TO

        8    THE UNIVERSITY OF PITTSBURGH FOR A PH.D. IN ORGANIC

        9    CHEMISTRY.    I THEN WORKED FOR CALGON FOR A SHORT PERIOD OF

       10    TIME IN THEIR PILOT PLANT AREA.       I THEN WORKED FOR A

       11    COUPLE OF COMPANIES THAT WERE WORKING ON SUPER FUND SITES

       12    AND USING ANALYTICAL CHEMISTRY TO DETERMINE WHAT KIND OF

       13    REMEDIATION WAS NECESSARY ON THESE SUPER FUND SITES.

       14    Q.     WHAT'S YOUR HIGHEST LEVEL OF EDUCATION?

       15    A.     MASTER'S DEGREE.

       16    Q.     WHERE DID YOU GET THAT?

       17    A.     DUQUESNE UNIVERSITY.

       18    Q.     AND WHAT WAS YOUR BACHELOR'S DEGREE IN?

       19    A.     CHEMISTRY.

       20    Q.     AND YOUR MASTER'S WAS ALSO IN CHEMISTRY?

       21    A.     YES.

       22    Q.     WHEN DID YOU START WORKING THEN AT VALSPAR?

       23    A.     STARTED WORKING OCTOBER OF 1988.

       24    Q.     CAN YOU TAKE US THROUGH THE ROLES AND EXPERIENCES

       25    YOU'VE HAD AT VALSPAR SINCE THAT TIME?




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        1    A.     SURE.

        2    Q.     JUST BRIEFLY.

        3    A.     SO I STARTED OUT AS A SUPERVISOR IN THE ANALYTICAL

        4    LABORATORY GROUP IN PITTSBURGH, I SPENT SEVEN YEARS

        5    WORKING ON THOSE ACTIVITIES, INCLUDING SPECIAL PROJECTS

        6    WITH CUSTOMERS.     I THEN TRANSFERRED INTO THE RESIN

        7    RESEARCH GROUP WHERE I HAD PROJECTS TO DEVELOP NEW

        8    CHEMISTRIES FOR RESINS AND POLYMERS THAT WOULD BE USED IN

        9    OUR PACKAGING COATINGS.      AFTER A YEAR IN THAT POSITION, I

       10    WAS PROMOTED TO THE MANAGER OF THAT POSITION, OF THAT

       11    GROUP, AND SUBSEQUENTLY WAS WORKING -- WAS TAKING ON MORE

       12    RESPONSIBILITY IN TERMS OF PROCESS ENGINEERING AND PROBLEM

       13    SOLVING; AND, AND THEN EVENTUALLY I GOT INTO MANAGING

       14    FORMULATING GROUPS, WHICH TOOK THE RESINS OR TOOK OTHER

       15    MATERIALS AND, AND FORMULATED THEM INTO COATINGS THAT

       16    WOULD ACTUALLY WORK FOR OUR CUSTOMERS.

       17    Q.     WHEN YOU TALKED ABOUT SOME OF THE MANAGEMENT THAT

       18    YOU'VE DONE, WHAT SORT OF PEOPLE AT SHERWIN-WILLIAMS DO

       19    YOU MANAGE?

       20    A.     SO IT'S ALL TECHNICAL PEOPLE.       IT GOES FROM

       21    TECHNICIANS TO ENGINEERS, CHEMISTS, SCIENTISTS, PEOPLE

       22    WITH DOCTORATE DEGREES, AND, AND A LOT OF THEM ARE HIGHLY

       23    EXPERIENCED IN THIS FIELD.

       24    Q.     DO YOU HAVE ANY PATENTS?

       25    A.     YES, I DO.




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        1    Q.     WHAT ARE THOSE PATENTS IN THE FIELD OF?

        2    A.     THERE ARE FIVE, BASICALLY FIVE PATENTS IN THE FIELD

        3    OF CHEMISTRY AND POLYMER SCIENCE FOR PACKAGING COATING END

        4    PIECES, SUCH AS POLYMERIZATION WITHIN AN EXTRUDER, A TWIN

        5    SCREW EXTRUDER; A CHEMISTRY THAT USES ANHYDRIDE, THE

        6    ANHYDRIDE CHEMISTRY FUNCTIONALITY TO CURE A COATING

        7    WITHOUT THE USE OF EXTERNAL CROSS-LINKING UNITS; SOME

        8    OTHER CHEMISTRY SUCH AS A PHENOLIC CHEMISTRY THAT IS VERY

        9    APPROPRIATELY USED IN A WATER-BASED COATING SITUATION.

       10    Q.     OKAY.    HOW MANY COATINGS, LET ME ASK YOU THIS, HOW

       11    MANY COATING FORMULATIONS WOULD YOU SAY YOU'VE WORKED FOR

       12    DURING YOUR TIME AT VALSPAR, OR WORKED ON?

       13    A.     AT THE BENCH AS A CHEMIST I WOULD HAVE WORKED ON

       14    SCORES OF DIFFERENT FORMULATIONS FOR DIFFERENT

       15    APPLICATIONS.     IN MY SUBSEQUENT ROLES I WAS WORKING AT A

       16    HIGHER LEVEL AND PROBABLY WORKING ON HUNDREDS OF DIFFERENT

       17    FORMULATIONS.

       18    Q.     IS THERE ANY ASPECT OF THE CHEMISTRY OF CHEMICAL

       19    COATINGS, INCLUDING THE POLYMER CHEMISTRY AND THE

       20    MANUFACTURING, THAT YOU HAVEN'T WORKED ON IN YOUR OVER 30

       21    YEARS AT SHERWIN-WILLIAMS?

       22    A.     NO.

       23    Q.     DO YOU KNOW THE DEFENDANT, DR. YOU?

       24    A.     YES.

       25    Q.     HOW DO YOU KNOW HER?




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        1    A.     AROUND 2013 SHE STARTED WORKING AT COCA-COLA AS A

        2    PACKAGING DEVELOPMENT ENGINEER, AND SHE WAS NOT IN THE SRA

        3    GROUP, YOU KNOW, THE SCIENCE AND REGULATORY AFFAIRS GROUP,

        4    AND SO HER RESPONSIBILITY WAS TO IDENTIFY PACKAGING THAT

        5    WOULD WORK FOR COCA-COLA'S PRODUCTS, AND SO WE INTERACTED

        6    WITH HER AND HER, HER COLLEAGUES WHEN WE WERE INTRODUCING

        7    OUR NEW NON-BPA TECHNOLOGY TO COCA-COLA.

        8    Q.     DID THAT WORK CAUSE YOU TO MEET DR. YOU IN PERSON?

        9    A.     YES.

       10    Q.     ROUGHLY HOW MANY TIMES DID YOU MEET HER IN PERSON?

       11    A.     I WOULD SAY IT WAS PROBABLY TEN TIMES.

       12    Q.     DO YOU SEE HER HERE IN THE COURTROOM TODAY?

       13    A.     YES.

       14    Q.     WHAT'S SHE WEARING?

       15    A.     SHE'S WEARING, I THINK IT'S A BLACK, A BLACK JACKET

       16    WITH A WHITE SHIRT.

       17                  MR. HUNTER:    YOUR HONOR, IF WE COULD LET THE

       18    RECORD REFLECT THAT THE WITNESS HAS IDENTIFIED DR. YOU.

       19                  THE COURT:    IT MAY.

       20    Q.     NOW, ASIDE FROM YOUR TRAVEL AND LODGING HERE TODAY

       21    HAVE YOU BEEN PAID BY THE GOVERNMENT IN ANY WAY FOR YOUR

       22    TESTIMONY?

       23    A.     NO.

       24    Q.     NOTHING AT ALL?

       25    A.     NO.




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        1    Q.      WHAT KIND OF COMPANY IS SHERWIN-WILLIAMS, JUST

        2    GENERALLY SPEAKING?

        3    A.      SO SHERWIN-WILLIAMS IS A LARGE COATINGS COMPANY

        4    PREDOMINANTLY IN THE PAINT ARENA.        WE DO MAKE OUR OWN

        5    CHEMISTRY PRODUCTS IN SOME CASES.        WE ALSO PURCHASE RAW

        6    MATERIALS FROM OTHER VENDORS.

        7    Q.      JUST GIVE US A SENSE OF THE DIFFERENT TYPES OF

        8    COATINGS THAT SHERWIN-WILLIAMS MAKES.

        9    A.      SO CONSUMER PAINTS FOR HOUSING, WOOD FURNISHINGS,

       10    AND THEN ALSO FOR OTHER TYPES OF SUBSTRATES THAT A

       11    CONSUMER MIGHT WANT TO PAINT, MASONRY AND FLOORS AND OTHER

       12    THINGS LIKE THAT.

       13                 THE INDUSTRIAL SIDE OF THE BUSINESS IS VERY

       14    BROAD, SO BESIDES PACKAGING FOR METAL PACKAGING,

       15    SHERWIN-WILLIAMS ALSO IS INVOLVED IN AUTOMOTIVE COATINGS,

       16    SO COATINGS FOR THE, THE SURFACES ON, ON VEHICLES,

       17    OFF-ROAD VEHICLES, SUCH AS CONSTRUCTION EQUIPMENT, FARM

       18    EQUIPMENT; APPLIANCES, AND SO, FOR INSTANCE, WASHERS,

       19    DRYERS, REFRIGERATORS.

       20    Q.      DO ALL OF THOSE DIFFERENT COATINGS HAVE DIFFERENT

       21    REQUIREMENTS AND DIFFERENT SCIENCE THAT GOES INTO CREATING

       22    THEM?

       23    A.      EXTREMELY DIFFERENT, YES.

       24    Q.      WHAT ARE SOME OF THE MOST HIGH-TECH COATINGS THAT

       25    SHERWIN-WILLIAMS DEVELOPS?




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      1    A.      WELL, OUR NON-BPA COATINGS IN PACKAGING ARE SOME OF

      2    THE MOST CHALLENGED AND VALUABLE MATERIALS THAT ARE IN OUR

      3    BUSINESS.

      4    Q.      AND YOU MENTIONED EARLIER THE DIFFERENT TYPES OF

      5    PEOPLE YOU MANAGED, PH.D SCIENTISTS, BACHELOR SCIENTISTS,

      6    DO YOU NEED THOSE KIND OF PEOPLE TO CREATE THOSE BPA-FREE

      7    COATINGS?

      8    A.      YES.

      9    Q.      HOW MANY EMPLOYEES -- LET ME ASK YOU THIS FIRST,

     10    WHERE IS SHERWIN-WILLIAMS' CORPORATE HEADQUARTERS?

     11    A.      CLEVELAND, OHIO.

     12    Q.      DO YOU HAVE ANY MANUFACTURING SITES IN TENNESSEE?

     13    A.      YES, I BELIEVE THERE ARE THREE PAINT SITES IN

     14    TENNESSEE.

     15    Q.      AND ROUGHLY HOW MANY WORLDWIDE EMPLOYEES DOES

     16    SHERWIN-WILLIAMS HAVE?

     17    A.      I THINK IT'S 61,000.

     18    Q.      HOW MANY OF THOSE ARE IN THE UNITED STATES?

     19    A.      I THINK IT'S SOMETHING LIKE 45,000.

     20    Q.      AND WHO ARE SHERWIN-WILLIAMS' COMPETITORS?

     21    A.      SO THERE ARE LARGE COMPETITORS AND SMALL COMPETI-

     22    TORS.    THE LARGER COMPETITORS ARE PPG AND AKZO-NOBEL.         THE

     23    SMALLER COMPETITORS WOULD BE METLAC AND ACTEGA.

     24    Q.      ARE THOSE COMPETITORS IN THE VALUE CHAIN WHEN WE

     25    TALK ABOUT FORMULATORS FOR COATINGS?




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      1    A.     PRINCIPALLY, ALTHOUGH PPG AND AKZO DO HAVE ALSO SOME

      2    MANUFACTURING CAPABILITY TOO, I MEAN POLYMER MANUFACTURING

      3    CAPABILITY.

      4    Q.     WHAT'S SHERWIN-WILLIAMS' ANNUAL REVENUE ROUGHLY?

      5    A.     EIGHTEEN BILLION.

      6    Q.     WHAT IS THE BRAND NAME OF SHERWIN-WILLIAMS' LINE OF

      7    BPA-FREE PRODUCTS FOR THE INSIDE OF CANS?

      8    A.     IT'S CALLED VALPURE.

      9    Q.     HAVE THERE BEEN DIFFERENT VERSIONS OF VALPURE THAT

     10    HAVE BEEN DEVELOPED BY SHERWIN-WILLIAMS?

     11    A.     YES, DIFFERENT FORMULATIONS.

     12    Q.     WHAT ARE THOSE DIFFERENT FORMULATIONS CALLED?

     13    A.     SO EACH APPLICATION REQUIRES ITS OWN SPECIFIC

     14    FORMULATION.     IF A CAN IS SPRAYED, IT WOULD BE GIVEN A

     15    CERTAIN TYPE OF FORMULATION.       IF A COATING HAS TO BE

     16    APPLIED BY A ROLL, IT WOULD BE, AGAIN, DIFFERENT.

     17    Q.     LET'S JUST GO BY A NAME.      ARE YOU FAMILIAR WITH A

     18    COATING CALLED V30?

     19    A.     V30, V60, V70, YES, THOSE ARE ALL DIFFERENT VERSIONS

     20    OF, OF VALPURE.

     21    Q.     WHAT IS V30?

     22    A.     SO V30 WOULD BE WHAT WE WOULD CALL A FIRST

     23    GENERATION POLYESTER.

     24    Q.     AND WHAT IS V40?

     25    A.     V40 WAS A, OR IS AN ACRYLIC.




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      1    Q.     WHAT IS V70?

      2    A.     V70 IS THE NON-BPA EPOXY.

      3    Q.     DO YOU CLASSIFY THOSE DIFFERENT COATINGS INTO

      4    DIFFERENT GENERATIONS?

      5    A.     YES.

      6    Q.     HOW DO YOU DO THAT, WHICH GENERATION DO THOSE

      7    DIFFERENT COATINGS, V30, V40 AND V70, FALL INTO?

      8    A.     SO V30 IS A FIRST GENERATION, TYPICALLY A POLYESTER,

      9    OR A POLYESTER FIRST GENERATION.        V40 MIGHT BE CALLED A

     10    GENERATION ONE AND A HALF, DEPENDS ON WHO YOU TALK TO, AND

     11    THEN V70 IS DEFINITELY RECOGNIZED AROUND THE INDUSTRY AS A

     12    GENERATION TWO.

     13    Q.     WHAT, WHAT'S THE SIGNIFICANCE OF A GENERATION TWO

     14    COATING LIKE V70, WHAT DOES THAT MEAN?

     15    A.     SO NOT ONLY -- AND THIS IS SORT OF DERIVED FROM

     16    COCA-COLA'S NOMENCLATURE AT THE TIME, ALTHOUGH THEY'VE

     17    TRIED TO DISTANCE THEMSELVES FROM THIS, I THINK.          THE

     18    FIRST GENERATION WERE MATERIALS THAT COULD BE USED TO

     19    REPLACE BISPHENOL A EPOXIES TO COMPLY WITH CONSUMER AND

     20    REGULATORY PRESSURE ON BPA, BUT THEY HAD SHORTCOMINGS.

     21    THEY, THEY HAD CERTAIN PERFORMANCE ISSUES THAT WOULD

     22    COMPROMISE THEIR LONG-TERM PERFORMANCE.

     23                  GENERATION TWO SOUGHT TO OVERCOME AND RECTIFY

     24    THOSE SHORTCOMINGS SO THAT THE PERFORMANCE WAS REALLY

     25    GETTING US BACK TO THE POINT WHERE WE HAD WITH BPA-BASED




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      1    EPOXIES.

      2    Q.     AND HOW LONG DID IT TAKE SHERWIN-WILLIAMS TO DEVELOP

      3    THAT V70 GENERATION TWO COATING?

      4    A.     IT TOOK US ABOUT TEN YEARS.

      5    Q.     NOW, ARE YOU FAMILIAR WITH -- DID YOU PARTICIPATE IN

      6    THAT INTERACTION, THAT BUSINESS BETWEEN SHERWIN-WILLIAMS

      7    AND COKE?

      8    A.     SOME OF IT, YES.

      9    Q.     WHAT TIME PERIOD WERE YOU INVOLVED IN THAT

     10    RELATIONSHIP?

     11    A.     WELL, FROM 2013 TO 2017.

     12    Q.     AND WHAT WAS THE PURPOSE OF SHERWIN-WILLIAMS

     13    ENGAGING IN THAT WITH COKE?

     14    A.     SO WE NEEDED TO GIVE THEM ALL THE INFORMATION THAT

     15    THEY NEEDED TO BE ABLE TO COME TO THE CONCLUSION THAT THIS

     16    MATERIAL WAS SOMETHING THAT COULD BE OF GREAT BENEFIT TO

     17    COCA-COLA AND THAT THEY SHOULD WORK TOWARDS QUALIFYING IT

     18    FOR THEIR PRODUCTS.

     19    Q.     WAS THAT IMPORTANT FOR SHERWIN-WILLIAMS' BUSINESS?

     20    A.     EXTREMELY IMPORTANT.

     21    Q.     WHY, WHY WAS IT SO IMPORTANT?

     22    A.     WELL, NOT ONLY IS COCA-COLA ONE OF THE LARGEST USERS

     23    OF COATED CANS FOR THEIR PRODUCT, THEY'RE SO BIG THAT THE

     24    IMPACT ON THE REST OF THE SUPPLY CHAIN, THE CAN MANUFAC-

     25    TURING SUPPLY CHAIN, WAS, YOU KNOW, VERY STRONG, AND IT




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      1    JUST TRENDED TO GO THE WAY THAT COCA-COLA WANTED IT TO GO.

      2    Q.       AND WHAT WERE THE NATURE OF THE DISCLOSURES -- WERE

      3    YOU MAKING THOSE DISCLOSURES BEFORE THE DEFENDANT WAS

      4    INVOLVED WITH THOSE PRODUCTS, WITH THE PROJECT?

      5    A.       ONLY TO THE SRA GROUP.

      6    Q.       AND WHAT WERE THE NATURE OF THE DISCLOSURES THAT

      7    SHERWIN-WILLIAMS WOULD MAKE TO THE SRA GROUP AT COKE?

      8    A.       SO THE SRA GROUP REQUIRED AN MCARF, MATERIAL

      9    COMPOSITION -- MCARF, I FORGET WHAT THE REST OF THE

     10    ACRONYM STANDS FOR.      BASICALLY IT'S A DISCLOSURE OF THE

     11    INDIVIDUAL COMPONENTS OF A COATING, AND IT WOULD NOT

     12    CONTAIN PERCENTAGES, IT WOULD ONLY CONTAIN THE NAMES OF

     13    THOSE CHEMICALS AND THEIR CAS NUMBER, THE C-A-S NUMBER.

     14    Q.       ARE THOSE MCARF DISCLOSURES, THOSE LIST OF

     15    MATERIALS, ARE THOSE VALUABLE, IS THAT VALUABLE

     16    INFORMATION TO SHERWIN-WILLIAMS?

     17    A.       EXTREMELY VALUABLE BECAUSE IT DISCLOSES TRADE

     18    SECRETS, NOT JUST THAT WE ARE USING THESE CERTAIN

     19    MATERIALS, BUT IT ALSO SAYS WE ARE NOT USING A WHOLE HOST

     20    OF OTHER MATERIALS.

     21    Q.       AND WERE THOSE DISCLOSURES TO THE SRA GROUP MADE

     22    PURSUANT TO A NON-DISCLOSURE AGREEMENT?

     23    A.       YES.

     24    Q.       WHAT DID THAT NON-DISCLOSURE AGREEMENT REQUIRE COKE

     25    TO DO?




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      1    A.     THE NON-DISCLOSURE AGREEMENT WITH THE SRA GROUP

      2    PROHIBITED THEM FROM SHARING THAT INFORMATION WITH ANYBODY

      3    ELSE WITHIN COCA-COLA, AND SO IT CREATED A FIREWALL, AND

      4    SO THEY, THEY WERE PROHIBITED FROM, FROM REVEALING OR

      5    DISCLOSING ANY OF THIS INFORMATION TO ANYBODY ELSE WITHIN

      6    COCA-COLA.

      7    Q.     NOW, WHEN THE DEFENDANT CAME AND STARTED WORKING ON

      8    THIS PROJECT, WHAT CHANGED?

      9    A.     SO SHE WAS OBVIOUSLY VERY, VERY INTERESTED IN THE

     10    CHEMISTRY TO THE EXCLUSION OF THE PERFORMANCE OF THE

     11    COATING, WHICH WAS A STEP CHANGE, A MAJOR STEP CHANGE

     12    FROM, FROM PEOPLE THAT HELD THAT POSITION BEFOREHAND.

     13    Q.     AND WHAT WAS THAT ADDITIONAL INFORMATION THAT YOU'RE

     14    SUGGESTING SHE WANTED?

     15    A.     WELL, SHE OFTEN MADE CLAIMS THAT SHE WAS A POLYMER

     16    CHEMIST AND THAT SHE KNEW MORE ABOUT POLYMER CHEMISTRY

     17    THAN WE DID AND THAT WE NEEDED TO REVEAL OUR CHEMISTRY TO

     18    HER SO THAT SHE COULD KNOW WHETHER THE MATERIAL WAS GOING

     19    TO BE WORTH LOOKING AT OR NOT.

     20    Q.     DID THE DEFENDANT EVER MAKE ANY CLAIMS ABOUT WHERE

     21    YOU WERE WITH RESPECT TO YOUR COMPETITORS?

     22    A.     SHE WOULD SAY, YOU KNOW, ALMOST VERY FREQUENTLY THAT

     23    WE WERE BEHIND OUR COMPETITORS AND WE WERE -- THE REASON

     24    FOR THAT WAS THAT WE WERE NOT REVEALING THIS INFORMATION.

     25    Q.     DID YOU KNOW WHETHER THAT WAS TRUE AS A MATTER OF




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      1    FACT?

      2    A.       THE MARKET, THE ACTIVITY IN THE MARKET CONTRADICTED

      3    THAT, AND SO WE -- I FELT THAT IT WAS A WAY TO TRY TO

      4    LEVERAGE US AND TO EXTRACT THAT INFORMATION THAT AT THAT

      5    POINT AT LEAST SHE WAS NOT ABLE TO GET OUT OF THE SRA

      6    GROUP.

      7    Q.       WHAT DO YOU MEAN BY THE WORD "LEVERAGE" YOU?

      8    A.       THREATEN US.

      9    Q.       AND THREATEN YOU IN WHAT WAY, WHAT WOULD HAVE

     10    HAPPENED IF YOU DIDN'T PROVIDE THE INFORMATION THE

     11    DEFENDANT WANTED?

     12    A.       THEN SHE WAS GOING TO STOP ANY QUALIFICATIONS OF OUR

     13    MATERIAL OR PROHIBIT THEM FROM EVER OCCURRING.

     14    Q.       AND WHAT WOULD HAVE BEEN THE RESULT OF THAT FOR

     15    SHERWIN-WILLIAMS?

     16    A.       WELL, IT WOULD HAVE BEEN DEVASTATING BECAUSE THIS

     17    TECHNOLOGY, THE VALPURE TECHNOLOGY, WOULD NOT HAVE BEEN

     18    ADOPTED THE WAY IT, IT TURNS OUT IT HAS BEEN.

     19    Q.       SO WHEN THE DEFENDANT STARTED MAKING THESE THREATS,

     20    WHAT DID YOU DO?

     21    A.       SO I TALKED TO MY MANAGEMENT, AND I SAID, THERE'S,

     22    THERE'S SOME KIND OF AN ANOMALY GOING ON HERE THAT THERE'S

     23    BEEN A SEA CHANGE IN THE BEHAVIOR OF THE GROUP THAT'S

     24    RESPONSIBLE FOR QUALIFYING THIS PACKAGING, AND --

     25    Q.       LET ME ASK YOU BEFORE YOU CONTINUE, DID YOU




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      1    INITIALLY REFUSE TO PROVIDE?

      2    A.     ABSOLUTELY.

      3    Q.     AND THIS IS -- WHAT WERE YOU REFUSING TO PROVIDE AT

      4    THAT POINT?

      5    A.     THE, ANY KIND OF A LIST OF THE CHEMICALS OR A MORE

      6    IN-DEPTH DESCRIPTION OF THE CHEMISTRY THAT'S USED IN THESE

      7    COATINGS.

      8    Q.     WHEN YOU SAY "MORE IN-DEPTH CHEMISTRY", DID THAT

      9    INCLUDE INFORMATION WITH INGREDIENTS AND AMOUNTS OF

     10    INGREDIENTS?

     11    A.     YES.

     12    Q.     OKAY.    CONTINUE, YOU WERE DESCRIBING WHAT YOU DID

     13    AFTER YOU REFUSED INITIALLY.

     14    A.     SO WE -- I REFUSED, AND I, I LET MY MANAGEMENT KNOW

     15    WHAT THE SITUATION WAS, AND WE STARTED TO TRY TO FIGURE

     16    OUT IF THERE WAS A WAY TO GET SHANNON YOU SOME INFORMATION

     17    THAT MIGHT, YOU KNOW, HELP HER COME TO A POSITIVE

     18    CONCLUSION, AND IT JUST DIDN'T APPEAR TO US THAT WE WERE

     19    EVER GOING TO BE ABLE TO SATISFY HER WITHOUT A FULL

     20    DISCLOSURE OF THE INFORMATION, WHICH WE COULDN'T DO.

     21    Q.     DO YOU REMEMBER ANY SPECIFIC THREATS THAT THE

     22    DEFENDANT MADE OR ANY SPECIFIC DISCUSSIONS ABOUT PROVIDING

     23    THIS INFORMATION THAT YOU INITIALLY DIDN'T, DID NOT WANT

     24    TO PROVIDE?

     25    A.     YES.    I MEAN, AT, AT ONE MEETING AND -- IN ATLANTA,




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      1    AT ANOTHER MEETING IN PITTSBURGH, AND A DINNER IN ATLANTA

      2    ONE TIME, SHE BASICALLY SAID THAT WE, WE WERE BEHIND OUR

      3    COMPETITION AND WE WERE NOT GOING TO BE APPROVED IF WE

      4    DIDN'T GIVE UP THIS INFORMATION.

      5    Q.     WHAT WERE THE NATURE OF THOSE DISCUSSIONS, WERE THEY

      6    PLEASANT DISCUSSIONS WITH THE DEFENDANT?

      7    A.     NO, THEY WERE TENSE.

      8    Q.     TENSE IN WHAT WAY?

      9    A.     WE STARTED TRYING TO PROBE, OBVIOUSLY, WE WEREN'T

     10    GOING TO GIVE HER THE INFORMATION, WE STARTED TO PROBE AS

     11    TO WHY SHE NEEDED THAT INFORMATION, AND WHAT SHE SAID WAS

     12    THAT, AGAIN, YOU KNOW, SHE WAS A POLYMER CHEMIST WHO KNEW

     13    MORE ABOUT COATINGS THAN WE DID AND THAT SHE WAS HELPING

     14    OUR COMPETITION, BY HER ADVICE SHE WAS HELPING OUR

     15    COMPETITION ACHIEVE BETTER PERFORMANCE, AND THAT SHE

     16    WANTED TO DO THE SAME THING FOR US, BUT SHE COULDN'T DO

     17    THAT UNLESS WE WERE MORE OPEN.

     18    Q.     SO SHE JUST WANTED TO HELP SHERWIN-WILLIAMS?

     19    A.     THAT'S -- THAT WAS HER STORY, YES.

     20    Q.     DID YOU HAVE ANY REASON TO BELIEVE THAT THE

     21    DEFENDANT WAS ACTING AT THE REQUEST OF HER SUPERVISORS AT

     22    COKE OR ANYONE ELSE AT COKE IN MAKING THESE REQUESTS FOR

     23    THE RECIPE INFORMATION, THE MORE DETAILED INFORMATION AT

     24    SHERWIN-WILLIAMS?

     25    A.     WE KNOW THAT HER SUPERVISOR YU SHI WAS INVOLVED AND




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      1    THAT SHE HAD VISITED OUR TECHNICAL CENTER IN PITTSBURGH

      2    TOGETHER WITH SHANNON YOU, AND THEY WERE BOTH PUTTING

      3    PRESSURE ON US TO REVEAL THE TECHNOLOGY, THE CHEMISTRY OF

      4    THE TECHNOLOGY.

      5    Q.     AND WHAT HAPPENED THEN, HOW DID VALSPAR/

      6    SHERWIN-WILLIAMS DETERMINE WHETHER TO PROVIDE THIS

      7    INFORMATION TO COKE AND THE DEFENDANT?

      8    A.     SO WE HAD CONVERSATIONS WITH OUR CHIEF TECHNICAL

      9    OFFICER, CYNTHIA ARNOLD.

     10    Q.     WHEN YOU SAY "CHIEF TECHNICAL OFFICER", JUST HOW

     11    HIGH UP OF A PERSON IS THAT AT SHERWIN-WILLIAMS?

     12    A.     SHE REPORTS TO THE CEO.

     13    Q.     GO AHEAD.

     14    A.     AND SHE JUST MADE THE DECISION TO HAVE ANOTHER

     15    CONFIDENTIAL, CONFIDENTIAL DISCLOSURE AGREEMENT SET UP

     16    WHERE NAMED INDIVIDUALS, LIKE SHANNON YOU AND YU SHI,

     17    WOULD HAVE ACCESS TO THIS INFORMATION THAT WE WOULD, WE

     18    WOULD GIVE THEM WHERE IT WAS OBVIOUSLY EVERY, YOU KNOW,

     19    EVERYTHING WAS UNDER THE DISCLOSURE AND WAS ONLY TO BE

     20    USED FOR PURPOSES OF QUALIFYING THESE COATINGS, NO OTHER

     21    USE WAS ALLOWED.

     22    Q.     SO DO I UNDERSTAND YOU RIGHT, YOU HAD A NON-

     23    DISCLOSURE IN PLACE ALREADY WITH COKE FOR THE SRA

     24    PURPOSES; IS THAT RIGHT?

     25    A.     YES.




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      1    Q.     SO BECAUSE OF THESE NEW REQUESTS FROM THE DEFENDANT

      2    YOU AMENDED THAT DISCLOSURE AGREEMENT TO BE MORE

      3    PROTECTIVE, IS THAT FAIR?

      4    A.     TO, AND TO INCLUDE THE TWO PEOPLE I MENTIONED, YES.

      5    Q.     YOU SPECIFICALLY NAMED THOSE TWO PEOPLE?

      6    A.     YES.

      7    Q.     IS IT UNUSUAL TO TAKE THIS SORT OF BUSINESS DECISION

      8    UP TO THE CHIEF TECHNOLOGY OFFICER OF SHERWIN-WILLIAMS?

      9    A.     IT'S HIGHLY UNUSUAL.

     10    Q.     HAVE YOU EVER DONE IT BEFORE TO GET A, REQUESTED TO

     11    SHARE INFORMATION?

     12    A.     NO.

     13                  MR. HUNTER:    YOUR HONOR, I SEE IT'S PAST 10:30,

     14    THIS MIGHT BE A GOOD TIME.

     15                  THE COURT:    IF THIS IS A GOOD POINT, WE'LL TAKE

     16    A MORNING BREAK.

     17                  LADIES AND GENTLEMEN, LET'S TAKE OUR BREAK, AND

     18    WE'LL RESUME AS SOON AS YOU CAN BE BROUGHT BACK UP TO THE

     19    COURTROOM.

     20          (RECESS AT 10:35 A.M., UNTIL 10:57 A.M.)

     21          (JURY PRESENT)

     22                  THE COURT:    ALL RIGHT.   MR. HUNTER, YOU MAY

     23    PROCEED.

     24    BY MR. HUNTER:

     25    Q.     MR. MALLEN, YOU'RE STILL UNDER OATH.




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      1                   COULD WE PULL UP EXHIBIT 5F FOR THE WITNESS

      2    ONLY, PLEASE.

      3                   MR. MALLEN, DO YOU RECOGNIZE THIS DOCUMENT?

      4    YOU ALSO HAVE HARD COPIES OF THESE EXHIBITS AVAILABLE TO

      5    YOU IF YOU'D RATHER LOOK AT THEM.

      6    A.     OKAY.    THANK YOU.

      7    Q.     CAN YOU READ THAT OKAY?

      8    A.     THAT'S BETTER.       YES.

      9                   MR. HUNTER:    AND JUST SCROLL DOWN A LITTLE BIT,

     10    COUPLE OF PAGES HERE.

     11    Q.     WE JUST SCROLLED THROUGH THAT DOCUMENT.        IT APPEARS

     12    TO CONTAIN MULTIPLE DOCUMENTS TOGETHER.         DO YOU RECOGNIZE

     13    THOSE DOCUMENTS?

     14    A.     YES.

     15    Q.     WHAT ARE THEY?

     16    A.     SO I BELIEVE THIS IS THE AMENDMENT TO --

     17    Q.     WHAT IS THE TOTALITY OF ALL THE DOCUMENTS?

     18    A.     THEY'RE CONFIDENTIALITY DISCLOSURE AGREEMENTS WITH

     19    COCA-COLA.

     20                   MR. HUNTER:    YOUR HONOR, AT THIS TIME THE

     21    GOVERNMENT MOVES TO PUBLISH AND ADMIT EXHIBIT 5F.

     22                   THE COURT:    5F IS ADMITTED AND MAY BE

     23    PUBLISHED.

     24    Q.     NOW, WHAT IS THE PURPOSE OF THESE DOCUMENTS, THESE

     25    NON-DISCLOSURE AGREEMENTS BETWEEN COKE AND




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      1    SHERWIN-WILLIAMS?

      2    A.     SO IT DECLARES THAT CONFIDENTIAL INFORMATION IS --

      3    WE'RE PLANNING TO, AT THIS TIME IT WAS TVC, THE VALSPAR

      4    CORPORATION, WAS GOING TO DISCLOSE TO COCA-COLA SENSITIVE

      5    AND CONFIDENTIAL INFORMATION AND THEIR OBLIGATIONS

      6    THEREUNDER.

      7    Q.     WHAT KIND OF OBLIGATIONS DID COKE HAVE UNDER THIS

      8    AGREEMENT, THESE AGREEMENTS?

      9    A.     SO THEY WERE PROHIBITED FROM DISCLOSING TO A THIRD

     10    PARTY EXCEPT UNDER CERTAIN CONDITIONS.        THEY WERE TO USE

     11    IT ONLY FOR THE PURPOSES OF WHATEVER THEIR FUNCTION WAS.

     12    Q.     AND UNDER THESE AGREEMENTS WAS THERE ANY LEGITIMATE

     13    REASON WHATSOEVER FOR ANY COKE EMPLOYEE TO HAVE

     14    SHERWIN-WILLIAMS' INFORMATION AFTER LEAVING COKE?

     15    A.     NO.

     16    Q.     IF YOU'LL LOOK AT PAGE 5 OF THIS AGREEMENT.

     17                  CAN YOU ZOOM IN THE TOP.

     18                  DO YOU SEE THAT?

     19    A.     YES.

     20    Q.     WHAT IS THIS, WHAT IS THIS PAGE?

     21    A.     SO IT'S AN AMENDMENT TO THE NON-DISCLOSURE

     22    AGREEMENT, AND IT'S DATED JUNE 27, 2013.

     23                  MR. HUNTER:   CAN YOU ZOOM IN ON PARAGRAPH A.

     24    Q.     WHAT IS THE PURPOSE OF PARAGRAPH A?

     25    A.     SO THIS PARAGRAPH DESCRIBES THE INFORMATION THAT




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      1    WOULD BE AVAILABLE AND SUBMITTED TO PEOPLE WITHIN THE

      2    SCIENTIFIC AND REGULATORY AFFAIRS GROUP, THE SRA GROUP.

      3    Q.     AND CAN YOU READ THIS PART STARTING, WHO SHALL USE.

      4    A.     SO IT SAYS -- IT LOOKS LIKE IT'S CROSSED OUT NOW, I

      5    CAN'T READ THROUGH THE RED.

      6                  YEAH.

      7    Q.     WHO SHALL USE, AND JUST READ THE REST OF THAT

      8    SENTENCE.

      9    A.     SO THEY DO HAVE THE RIGHT TO DISCLOSE THE

     10    FORMULATION INFORMATION TO A REGULATORY, A GOVERNMENT

     11    REGULATORY BODY STRICTLY FOR PURPOSES OF --

     12    Q.     I'M JUST SAYING CAN YOU READ, WHO SHALL USE THE

     13    FORMULATION INFORMATION, DO YOU SEE THAT?

     14    A.     THE COCA-COLA COMPANY.

     15    Q.     WELL, CAN YOU READ THAT, THAT PHRASE RIGHT THERE,

     16    YOU SEE WHERE IT SAYS, WHO SHALL USE THE FORMULATION

     17    INFORMATION ONLY FOR REGULATORY PURPOSES?

     18    A.     YES.

     19    Q.     WHAT'S THE MEANING OF THAT, OF THAT PHRASE?

     20    A.     SO THIS, THIS INFORMATION IS USED BY COCA-COLA TO

     21    ASSESS THE REGULATORY STATUS AROUND THE WORLD OF A COATING

     22    THAT IS COMPOSED OF CERTAIN SUBSTANCES.

     23                  MR. HUNTER:   COULD YOU ZOOM IN ON PARAGRAPH B.

     24    Q.     CAN YOU JUST READ THE FIRST SENTENCE OF PARAGRAPH B.

     25    A.     TO ALLOW THE COCA-COLA COMPANY TO VALIDATE THE FILM




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      1    PERFORMANCE PROPERTIES OF CERTAIN VALSPAR CORPORATION BPA

      2    NON-INTENT COATING COMPOSITIONS.        IT IS ALSO ANTICIPATED

      3    THAT THE VALSPAR CORPORATION WILL DISCLOSE FORMULATION

      4    INFORMATION, INCLUDING CURED FILM SAMPLES, TO THE

      5    COCA-COLA COMPANY PERSONNEL YU SHI AND SHANNON YOU.

      6    Q.      OKAY.    IF YOU'LL STOP RIGHT THERE.     WHY IS THAT

      7    PARAGRAPH SEPARATE FROM THE PREVIOUS, PREVIOUS PARAGRAPH?

      8    A.      I'M PRESUMING BECAUSE THEY WERE NOT INCLUDED IN THE

      9    LISTING OF THE SRA PEOPLE SINCE THEY DON'T WORK, OR DID

     10    NOT WORK IN THAT FUNCTION, AND IT, IT SPECIFICALLY STATES

     11    WHAT KIND OF INFORMATION WOULD BE DISCLOSED TO THEM.

     12    Q.      DID YOU TRUST THAT THIS NDA WOULD ENSURE THAT

     13    SHERWIN-WILLIAMS' CONFIDENTIAL INFORMATION WOULD STAY AT

     14    COKE?

     15    A.      I DID, YES.

     16    Q.      NOW, WHEN YOU WOULD SEND INFORMATION TO COKE OR TO

     17    THE DEFENDANT, WOULD YOU REMIND THEM OF OBLIGATIONS UNDER

     18    THESE NON-DISCLOSURE AGREEMENTS?

     19    A.      YES.    WE WOULD MARK THE INFORMATION AS CONFIDENTIAL

     20    PER THIS AGREEMENT.

     21    Q.      DO YOU REMEMBER THE DEFENDANT EVER CONTESTING ANY OF

     22    THAT MARKINGS AND, NO, THIS ISN'T CONFIDENTIAL, WHY ARE

     23    YOU MARKING IT THAT WAY?

     24    A.      NO.

     25    Q.      DID YOU EVER HAVE A DISPUTE ABOUT THAT, WHETHER YOU




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      1    WERE IMPROPERLY USING CONFIDENTIALITY DESIGNATIONS WITH

      2    THE DEFENDANT?

      3    A.     NO.

      4    Q.     DID YOU EVER RECLASSIFY A CONFIDENTIAL DOCUMENT

      5    BASED ON AN INTERACTION WITH THE DEFENDANT SAYING IT

      6    WASN'T ACTUALLY CONFIDENTIAL?

      7    A.     NO.

      8    Q.     NOW, DESCRIBE HOW THIS -- SO THIS -- IS THIS THE

      9    NDA, THE ONE WE JUST LOOKED AT, THE AMENDMENT YOU REFERRED

     10    TO EARLIER WHEN THE DEFENDANT WAS ASKING FOR MORE

     11    INFORMATION THAT YOU TALKED WITH THE CTO ABOUT SIGNING?

     12    A.     YES.

     13    Q.     SO THIS GETS SIGNED, WHAT HAPPENS THEN?

     14    A.     SO THEN WE -- WHENEVER WE WERE HAVING MEETINGS WITH

     15    THE DEFENDANT OR CONVERSATIONS OVER E-MAIL, WHENEVER THE,

     16    THE REQUEST CAME IN, WE WOULD EVALUATE IT AS TO WHETHER IT

     17    WAS IN COMPLIANCE WITH THIS AGREEMENT, AND WE WOULD MARK

     18    IT UP AND SEND IT TO HER, PRESENT IT TO HER.

     19    Q.     WERE YOUR INTERACTIONS AFTER THIS AGREEMENT WERE

     20    SIGNED, DID YOUR OTHERWISE CONTENTIOUS INTERACTIONS BECOME

     21    FRIENDLY AT THAT POINT?

     22    A.     I WOULD SAY NOT.     SHE CONTINUED TO ASK FOR EVEN MORE

     23    INFORMATION THAN WE FELT WAS COVERED BY THIS AGREEMENT,

     24    AND SO WE DECLINED TO PROVIDE THAT INFORMATION TO OUR

     25    SALES OR MARKETING PEOPLE, WHICH THEN WOULD ESCALATE THE




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      1    CONVERSATION.

      2    Q.      DID YOU COME TO LEARN THAT THE DEFENDANT HAD LEFT

      3    COKE?

      4    A.      YES.

      5    Q.      WHERE DID YOU COME TO LEARN THAT SHE WENT AFTER

      6    LEAVING COKE?

      7    A.      I THINK SHE CONTACTED OUR RESEARCH, OUR VP OF

      8    RESEARCH FOR PACKAGING, ALEX KRUGLOV, WHEN WE WERE SITTING

      9    IN A MEETING TOGETHER, AND HE HAD RECEIVED EITHER AN

     10    E-MAIL OR A TEXT MESSAGE STATING THAT SHE WAS LEAVING COKE

     11    AND WOULD BE INTERESTED IN PURSUING A JOB AT, AT SHERWIN

     12    AT THAT TIME.

     13    Q.      AND DID SHE END UP GETTING A JOB AT

     14    SHERWIN-WILLIAMS?

     15    A.      NO.

     16    Q.      WHERE DID SHE GO?

     17    A.      SHE WENT TO EASTMAN CHEMICAL.

     18    Q.      WHEN YOU CAME TO LEARN SHE WENT TO EASTMAN CHEMICAL,

     19    WHAT DID YOU DO?

     20    A.      WELL, WE HAD A CONVERSATION INTERNALLY, AND WE

     21    DECIDED THAT WE SHOULD SEND A LETTER TO EASTMAN REMINDING

     22    THEM OF HER OBLIGATION ACCORDING TO THIS AMENDED

     23    DECLARATION.

     24    Q.      IS THAT COMMON TO SEND A LETTER TO AN EMPLOYER OF

     25    SOMEONE WHO WAS NEVER ACTUALLY AN EMPLOYEE OF




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      1    SHERWIN-WILLIAMS REMINDING THEM OF CONFIDENTIALITY

      2    APPLICATIONS?

      3    A.      I'VE NEVER KNOWN IT TO HAPPEN.

      4    Q.      DID YOU RECEIVE FILES FROM THE FBI AT SOME POINT IN

      5    2018?

      6    A.      YES.

      7    Q.      WHAT DID THE FBI TELL YOU ABOUT THOSE FILES?

      8    A.      THAT THEY WERE VALSPAR/SHERWIN-WILLIAMS RELATED

      9    DOCUMENTS THAT WERE FOUND IN THE POSSESSION OF SHANNON

     10    YOU.

     11    Q.      AND IN FRONT OF YOU YOU SHOULD HAVE EXHIBITS MARKED

     12    28A THROUGH 28N.

     13    A.      YES, SIR.

     14    Q.      CAN YOU HOLD THOSE UP SO THE JURY CAN GET A CHANCE

     15    TO LOOK AT THEM REAL QUICK.

     16    A.      (WITNESS COMPLIES).

     17    Q.      AND ARE THOSE THE DOCUMENTS THAT YOU REVIEWED THAT

     18    WERE PROVIDED BY THE FBI?

     19    A.      YES.

     20    Q.      WHAT -- WHEN YOU TOOK A LOOK, WHEN THE FBI PROVIDED

     21    THOSE DOCUMENTS TO YOU, WHAT, WHAT WERE YOU DOING, WHAT

     22    WAS YOUR INTENT IN LOOKING AT THOSE DOCUMENTS?

     23    A.      TRYING TO ASCERTAIN HOW MUCH OF THIS INFORMATION

     24    WAS, YOU KNOW, TRADE SECRET INFORMATION VERSUS OTHERWISE

     25    DISCLOSED INFORMATION TO MAKE SURE THAT EVERYTHING HAD A,




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      1    A STAMP ON IT THAT CLAIMED THAT IT WAS CONFIDENTIAL AND

      2    TRY TO UNDERSTAND AT WHAT POINT WOULD SHE HAVE BEEN, WOULD

      3    SHE HAVE ACCESSED THIS INFORMATION.

      4    Q.      CAN YOU JUST SUMMARIZE IN A COUPLE OF FEW SENTENCES

      5    WHAT INFORMATION IS CONTAINED IN THOSE DOCUMENTS MARKED

      6    23A THROUGH N.

      7    A.      SO IN SOME CASES THE INFORMATION IS A REVIEW OF

      8    INFORMATION THAT'S ALREADY IN THE PUBLIC DOMAIN, SUCH AS

      9    THE, THE MONOMER FOR MAKING A NON-BPA EPOXY, WHICH WE

     10    FREELY DISCLOSED, AND THE POLYMER THAT WOULD BE MADE FROM

     11    THAT.    IN OTHER CASES IT'S INFORMATION THAT IS KEPT AS A

     12    TRADE SECRET AND NOT DISCLOSED TO EVEN PEOPLE

     13    INTERNALLY.

     14    Q.      I MISSPOKE EARLIER.    I SAID EXHIBIT 23A, IT'S

     15    ACTUALLY 28A THROUGH N; CORRECT?

     16    A.      28A THROUGH N.

     17    Q.      WHAT BRAND OF COATING DID THIS INFORMATION RELATE

     18    TO?

     19    A.      SO VALPURE MATERIALS WHICH WOULD INCLUDE BEVERAGE

     20    COATINGS FOR BEVERAGE CANS.

     21    Q.      AND WHEN SHERWIN-WILLIAMS MANUFACTURES AND WHEN IT

     22    DEVELOPED THE VALPURE LINE OF COATINGS, WHERE DID IT

     23    INTEND TO DISTRIBUTE THAT PRODUCT?

     24    A.      GLOBALLY.

     25    Q.      DOES THAT INCLUDE THROUGHOUT THE UNITED STATES?




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      1    A.     YES.

      2    Q.     NOW, AS THE GLOBAL DIRECTOR OF PACKAGING AND

      3    REGULATORY AFFAIRS AT SHERWIN-WILLIAMS, ARE YOU GENERALLY

      4    FAMILIAR WITH WHAT'S IN THE PUBLIC DOMAIN REGARDING THE

      5    VALPURE LINE OF COATINGS?

      6    A.     YES.

      7    Q.     DOES THAT INCLUDE WHAT'S IN PUBLISHED PATENTS

      8    REGARDING THOSE COATINGS?

      9    A.     YES.

     10    Q.     WHY IS THAT AN IMPORTANT PART OF YOUR JOB TO BE

     11    FAMILIAR WITH WHAT'S IN THE PUBLIC DOMAIN ABOUT THESE

     12    COATINGS?

     13    A.     WE HAVE TO HAVE AN OPEN DIALOGUE WITH STAKEHOLDERS

     14    IN SOCIETY IN ORDER TO BE ABLE TO ASSURE THEM AND THE

     15    AGENCIES THAT SPEAK FOR THEM THAT THESE MATERIALS ARE SAFE

     16    AND EFFECTIVE AND POSE NO CONCERN, NO HEALTH CONCERN TO,

     17    TO THEM OR TO THEIR FAMILY.

     18                  MR. HUNTER:   AND CAN WE PULL UP WHAT'S BEEN

     19    ALREADY ADMITTED AS EXHIBIT 28A.

     20    Q.     DO YOU RECOGNIZE THIS DOCUMENT?

     21    A.     YES.

     22    Q.     WHAT IS IT?

     23    A.     SO IT'S A DOCUMENT THAT'S MARKED CONFIDENTIAL FROM

     24    FEBRUARY 8, 2016.

     25    Q.     LET'S JUST STOP RIGHT THERE.       HOW MANY DIFFERENT




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      1    WAYS IS THIS DOCUMENT MARKED CONFIDENTIAL?

      2    A.       TWO.

      3    Q.       AND LET'S -- CAN YOU POINT THOSE OUT.      IS THERE ONE?

      4    A.       SO IN BOLD UNDER THE DATE IT SAYS, "CONFIDENTIAL

      5    PURSUANT TO NON-DISCLOSURE AGREEMENT DATED AUGUST 1,

      6    2012".

      7    Q.       AND WHAT DOES THIS SAY RIGHT HERE?

      8    A.       IT SAYS, "DO NOT COPY".

      9    Q.       WHAT DOES IT SAY IN THE WATERMARK?

     10    A.       SO THE DIAGONAL WATERMARK ACROSS THE PAGE SAYS,

     11    "CONFIDENTIAL, DO NOT COPY, NDA AUGUST 1, 2012".

     12    Q.       NDA REFERS TO A NON-DISCLOSURE AGREEMENT?

     13    A.       CORRECT.

     14    Q.       WHAT IS THE INFORMATION DEPICTED HERE WHERE IT SAYS,

     15    "COMPOSITION"?

     16    A.       SO THIS IS THE COMPOSITION OF XXXXXX WHICH IS A

     17    BEVERAGE END COATING, AND IT'S --

     18    Q.       YOU JUST MENTIONED A BEVERAGE END COATING, WHAT'S

     19    THE SIGNIFICANCE OF A BEVERAGE END COATING?

     20    A.       SO IF YOU LOOK AT A TYPICAL BEVERAGE CAN, THERE'S

     21    BASICALLY TWO PARTS TO IT.       THE LARGER PART IS THE

     22    CYLINDER WITH THE BOTTOM OF IT ALREADY INTEGRAL TO THAT

     23    CYLINDER, AND THE SECOND PART OF IT IS THE CLOSURE OR THE

     24    END THAT SEALS THE PRODUCT INTO THAT CAN.

     25    Q.       IS THAT BEVERAGE END COATING DIFFERENT THAN THE




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      1    INTERNAL?

      2    A.     VERY DIFFERENT.

      3    Q.     IS IT MORE CHALLENGING TO CREATE THAT BEVERAGE END

      4    COATING OR LESS CHALLENGING?

      5    A.     I WOULD SAY IT'S MORE CHALLENGING BECAUSE THE METAL

      6    IS MUCH MORE HIGHLY FABRICATED, MEANING IT'S ESSENTIALLY

      7    TORTURED INTO SHAPE.

      8    Q.     AND GO AHEAD AND DESCRIBE WHAT THE INFORMATION IS

      9    DOWN THE LEFT-HAND SIDE OF THIS DOCUMENT.

     10    A.     SO ON THE LEFT-HAND SIDE IT INDICATES THE SPECIFIC

     11    CHEMICAL COMPONENTS THAT ARE USED TO MAKE THIS COATING.

     12    Q.     AND GO AHEAD AND --

     13    A.     AND THE COLUMN NEXT TO IT ON THE RIGHT LISTS HOW

     14    MUCH OF EACH OF THOSE INDIVIDUAL COMPONENTS ARE USED IN

     15    THE COATINGS.

     16    Q.     AND SHOULD THESE ADD UP TO 100 PERCENT?

     17    A.     YES.

     18    Q.     AND IF I WERE TO REMOVE WATER FROM THE COATING, DOES

     19    IT ADD UP TO 100 PERCENT ANYMORE?

     20    A.     NO.

     21    Q.     WOULD YOU BE ABLE TO FIGURE OUT THOUGH JUST BY DOING

     22    SOME SIMPLE SUBTRACTION WHAT THAT NUMBER WAS THAT I JUST

     23    DELETED?

     24    A.     YES.

     25    Q.     DO YOU HAVE TO BE A PH.D. OR POLYMER SCIENTIST TO




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      1    FIGURE THAT OUT?

      2    A.     NO.

      3    Q.     DID THE DEFENDANT EVER, DID THE DEFENDANT EVER TELL

      4    YOU THAT THIS INFORMATION WAS NOT, DESPITE ALL THE

      5    MARKINGS, THAT ANY OF THAT, THOSE MARKINGS WERE INCORRECT,

      6    THAT THIS ACTUALLY WAS NOW IN THE PUBLIC DOMAIN?

      7    A.     NO.

      8    Q.     DID SHE -- DID ANYONE AT COKE EVER TELL YOU THAT

      9    THIS INFORMATION WAS NOW IN THE PUBLIC DOMAIN?

     10    A.     NO.

     11    Q.     YOU MENTIONED BEFORE SHE THREATENED SHERWIN-WILLIAMS

     12    TO GET THIS INFORMATION?

     13    A.     YES.

     14    Q.     DO YOU NOTICE ANYTHING ABOUT HOW THIS DOCUMENT

     15    APPEARS?

     16    A.     SO IT'S NOT SQUARE TO THE PAGE, IT'S GOT SHADING,

     17    WHICH INDICATES A SHADOW SOMEHOW HAS BEEN SHOWN OVER ONE

     18    CORNER, AND TO ME IT LOOKS LIKE EITHER A PHOTOGRAPH, A

     19    SCAN OR SOME KIND OF A FACSIMILE OF A DOCUMENT.

     20    Q.     IS A PHOTO OR A SCAN OR A FACSIMILE HOW

     21    SHERWIN-WILLIAMS PROVIDED THIS INFORMATION TO THE

     22    DEFENDANT?

     23    A.     NO.

     24    Q.     WAS A PHOTO, A SCAN OR A FACSIMILE A WAY THAT

     25    SHERWIN-WILLIAMS STORES THIS DOCUMENT IN ITS OWN




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      1    SYSTEMS?

      2    A.     NO.

      3    Q.     WOULD SHERWIN-WILLIAMS HAVE PROVIDED THIS DOCUMENT

      4    AS A PHOTO, SCAN OR FACSIMILE TO ANYBODY?

      5    A.     NO.

      6    Q.     IS THIS RECIPE -- IS IT FAIR TO CALL THIS, THIS LIST

      7    OF INGREDIENTS AND THE AMOUNTS OF THOSE INGREDIENTS A

      8    RECIPE?

      9    A.     YES.

     10    Q.     AND TO WHAT PRECISION IS THE AMOUNTS OF THE

     11    INGREDIENTS SPECIFIED IN THAT RECIPE?

     12    A.     A TENTH OF A PERCENT.

     13    Q.     A TENTH OF A PERCENT?

     14    A.     YES.

     15    Q.     IS IT FAIR TO CALL THIS RECIPE WITH THIS COMBINATION

     16    OF -- WELL, STRIKE THAT.      IS THIS RECIPE WITH THIS

     17    COMBINATION OF INGREDIENTS AND THIS AMOUNT OF INGREDIENTS

     18    DOWN TO A TENTH OF A PERCENT AVAILABLE IN A PUBLIC DOMAIN

     19    IN ANY FORM WHATSOEVER TO THE BEST OF YOUR KNOWLEDGE?

     20    A.     NO.

     21    Q.     WHAT, JUST GENERALLY SPEAKING, WHAT LEVEL OF

     22    SECURITY DOES SHERWIN-WILLIAMS AFFORD THIS TYPE OF

     23    RECIPE?

     24    A.     WE TAKE GREAT PAINS TO PROTECT THIS KIND OF

     25    INFORMATION THROUGH ELECTRONIC MEANS, YOU KNOW, SILOING




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      1    FUNCTIONS --

      2    Q.     AND WE'LL GET INTO THOSE MEASURES LATER, JUST GIVE

      3    US A SENSE, IS THIS KIND OF BOTTOM-OF-THE-BARREL

      4    INFORMATION OR IS IT SUPER IMPORTANT INFORMATION FOR

      5    SHERWIN-WILLIAMS?

      6    A.     NO, IT'S EXTREMELY IMPORTANT BECAUSE IT'S -- NOBODY

      7    HAS THIS KIND OF TECHNOLOGY.       NONE OF OUR COMPETITION HAS

      8    THIS KIND OF TECHNOLOGY THAT PERFORMS THIS WELL.

      9    Q.     AND WHAT SORT OF CHALLENGES DID SHERWIN-WILLIAMS

     10    OVERCOME DEVELOPING THIS SECRET RECIPE?

     11    A.     WELL, WE HAD TO SPEND A LOT OF TIME LOOKING FOR A

     12    BISPHENOL WHICH WAS NOT ENDOCRINE ACTIVE BY ANY MEASURE;

     13    AND ON TOP OF THAT WE HAD TO DETERMINE IF ANY BISPHENOL

     14    THAT WE FOUND THAT MET THAT CRITERIA COULD ALSO MAKE A

     15    POLYMER, AND THAT, THAT IS EXTREMELY IMPORTANT, AND HAS TO

     16    BE A HIGH MOLECULAR WEIGHT LINEAR POLYMER IN ORDER TO

     17    PERFORM THE WAY THIS MATERIAL HAS TO PERFORM.

     18    Q.     AND WHAT SORT OF SCIENCE AND EXPERIMENTATION, HOW

     19    COMPLEX IS THE SCIENCE AND EXPERIMENTATION THAT GOES IN TO

     20    CREATING THIS RECIPE?

     21    A.     SO YOU HAVE A LOT OF TOXICOLOGY, REPRODUCTIVE

     22    TOXICOLOGY THAT NEEDS TO BE DONE, POLYMER SCIENCE

     23    MODELING, COMPUTER MODELING OF THE MOLECULES.

     24    Q.     AND UNDER THE NON-DISCLOSURE AGREEMENT WAS THERE ANY

     25    LEGITIMATE REASON WHATSOEVER FOR THE DEFENDANT TO HAVE




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      1    THIS INFORMATION AFTER SHE LEFT HER JOB AT COKE?

      2    A.     NO.

      3    Q.     WHAT WOULD BE THE VALUE OF A COMPETITOR OR WOULD-BE

      4    COMPETITOR OF HAVING THIS SECRET RECIPE?

      5    A.     SO AS I SAID BEFORE, NOT ONLY DOES IT TELL A

      6    COMPETITOR WHAT WE ARE USING SPECIFICALLY AND THE AMOUNTS,

      7    IT ALSO TELLS THE COMPETITOR WHAT WE'RE NOT USING.          SO

      8    IT'S A PROCESS OF ELIMINATION THAT WOULD REQUIRE YEARS AND

      9    YEARS OF RESEARCH TO GET TO THE SAME POINT WE ARE NOW.

     10    Q.     AND COULD A WOULD-BE COMPETITOR CUT OFF THAT YEARS

     11    AND YEARS OF RESEARCH BY HAVING THIS INFORMATION?

     12    A.     ABSOLUTELY.

     13    Q.     AND HOW -- WHAT PERCENTAGE OF THEIR WAY ALONG THE

     14    ROAD TO COMMERCIALIZING A COATING WOULD SOMEONE BE IF THEY

     15    JUST CAME UPON THIS INFORMATION OR STOLE IT?

     16    A.     IF YOU KNEW THAT WE WERE HEADING DOWN THIS PATH AND

     17    THAT WE HAD ALREADY DONE ALL THE HOMEWORK TO VET IT OUT,

     18    YOU'RE 98 PERCENT OF THE WAY THERE.

     19    Q.     IS THIS INFORMATION A TRADE SECRET FOR

     20    SHERWIN-WILLIAMS?

     21    A.     YES.

     22                  MR. HUNTER:   COULD YOU PUBLISH THE ELMO,

     23    PLEASE.

     24    Q.     I'M GOING TO SHOW YOU EXHIBIT 35, WHAT'S BEEN

     25    PREVIOUSLY MARKED AS EXHIBIT 35 AS A, AS A DEMONSTRATIVE.




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      1    WE'RE KEEPING TRACK OF THE TESTIMONY ABOUT WHAT

      2    INFORMATION IS A TRADE SECRET, SO I -- MR. MALLEN, CAN I

      3    MARK EXHIBIT 28A, IS IT YOUR TESTIMONY THAT 28A IS A TRADE

      4    SECRET OF SHERWIN-WILLIAMS?

      5    A.       YES.

      6                    MR. HUNTER:   CAN WE PULL UP EXHIBIT, WHAT'S

      7    BEEN PREVIOUSLY ADMITTED AS EXHIBIT 28B.

      8    Q.       DO YOU RECOGNIZE THIS DOCUMENT?

      9    A.       YES.

     10    Q.       WHAT IS THIS?

     11    A.       THIS IS A COMPOSITION OF A SPRAY COATING FOR THE

     12    INSIDE OF BEVERAGE CANS.

     13    Q.       SO THIS ONE IS FOR THE INSIDE OF THE CAN, IS IT FOR

     14    THE END OR FOR THE BODY?

     15    A.       FOR THE BODY.

     16    Q.       AND WAS THIS, WAS THIS DOCUMENT MARKED CONFIDENTIAL

     17    IN ANY WAY?

     18    A.       YES, SEVERAL, SEVERAL WAYS.

     19    Q.       CAN YOU POINT THOSE OUT?

     20    A.       SO UNDERNEATH THE DATE IN BOLD LETTERS IT SAYS, IN

     21    CAPITAL LETTERS IT SAYS, "CONFIDENTIAL PURSUANT TO

     22    NON-DISCLOSURE AGREEMENT DATED AUGUST 1, 2012".          IT NAMES

     23    COCA-COLA CORPORATION AND VALSPAR; AND IT SAYS, "DO NOT

     24    COPY".

     25    Q.       AND ZOOM OUT, WHAT'S THE WATERMARK SAY?




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      1    A.     THE DIAGONAL WATERMARK SAYS "CONFIDENTIAL" IN

      2    CAPITAL LETTERS, "DO NOT COPY" AND THEN NDA,

      3    "NON-DISCLOSURE AGREEMENT, AUGUST 1, 2012".

      4    Q.     IS THIS ESSENTIALLY THE SAME TYPE OF SECRET RECIPE

      5    INFORMATION WE JUST TALKED ABOUT?

      6    A.     YES.

      7    Q.     IS THIS INFORMATION AVAILABLE IN THE PUBLIC DOMAIN

      8    IN ANY FORM WHATSOEVER?

      9    A.     NO.

     10    Q.     IS THIS A VALSPAR TRADE -- SHERWIN-WILLIAMS TRADE

     11    SECRET?

     12    A.     YES.

     13    Q.     IS IT VALUABLE FOR THE SAME REASONS WE TALKED ABOUT

     14    FOR THE OTHER RECIPE?

     15    A.     YES.

     16    Q.     DOES IT HAVE THE SAME VALUE TO A WOULD-BE COMPETITOR

     17    AS THE OTHER RECIPE?

     18    A.     YES.

     19                  MR. HUNTER:   AND SWITCH BACK TO THE ELMO,

     20    PLEASE.

     21    Q.     IF I UNDERSTAND YOUR TESTIMONY, MR. MALLEN, THAT 28B

     22    IS A SHERWIN-WILLIAMS TRADE SECRET; IS THAT CORRECT?

     23    A.     YES.

     24                  MR. HUNTER:   NOW CAN WE GO BACK TO EXHIBIT 28B.

     25    Q.     DO YOU NOTICE ANYTHING ABOUT THE APPEARANCE OF THIS




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      1    DOCUMENT?

      2    A.     YES.   IT'S HEAVILY SHADED AS IF IT WAS A PHOTOGRAPH

      3    OR OTHER TYPE OF REPRODUCTION TECHNIQUE.

      4    Q.     YOU PREVIOUSLY TESTIFIED FOR THE OTHER EXHIBIT THAT

      5    THAT'S NOT HOW SHERWIN-WILLIAMS KEEPS OR PROVIDES THIS

      6    TYPE OF INFORMATION; IS THAT RIGHT?

      7    A.     CORRECT.

      8                  MR. HUNTER:   IF YOU'LL PULL UP WHAT'S BEEN

      9    PREVIOUSLY ADMITTED AS EXHIBIT 28C.

     10    Q.     DO YOU RECOGNIZE THIS DOCUMENT?

     11    A.     YES.

     12    Q.     WHAT IS THIS?

     13    A.     THIS IS THE MATERIAL COMPOSITION APPROVAL REQUEST

     14    FORM, OTHERWISE KNOWN AS MCARF, THAT THE COCA-COLA COMPANY

     15    REQUIRES THEIR SUPPLIERS TO FILL OUT BEFORE MATERIAL CAN

     16    BE APPROVED FOR QUALIFICATION.

     17    Q.     AND WHAT SORT OF CAN IS THIS FORM FOR, OR THE

     18    COATING INFORMATION -- THE COATING THAT'S DESCRIBED IN

     19    THIS FORM, WHAT KIND OF COATING IS IT?

     20    A.     SO THIS IS A SPRAY COATING, BUT IT'S DIFFERENT FROM

     21    THE PREVIOUS SPRAY COATING, AND IT IS DESIGNED FOR THE USE

     22    IN WHAT'S KNOWN AS A BOTTLE CAN.

     23    Q.     WHAT'S A BOTTLE CAN?

     24    A.     SO A BOTTLE CAN IS AN EXTRUDED ALUMINUM CAN THAT IS

     25    FASHIONED WITH A NECK SO THAT IT LOOKS LIKE A BOTTLE.




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      1    Q.      DO THOSE BOTTLE CANS COME WITH THEIR OWN UNIQUE SET

      2    OF CHALLENGES FOR THE COATING THAT'S SPRAYED INSIDE OF

      3    THEM?

      4    A.      YEAH.   IT'S A VERY EXTREME CHALLENGE FOR --

      5    TYPICALLY THERE'S A THREAD, A SCREW THREAD AT THE TOP OF

      6    THE NECK, AND THAT -- THE COATING HAS TO SURVIVE THAT

      7    NECKING PROCESS AND THE THREADING PROCESS.

      8    Q.      AND WHAT INFORMATION IS DEPICTED, IF YOU CAN ZOOM IN

      9    ON THE TABLE A LITTLE BIT, WHAT INFORMATION IS DEPICTED IN

     10    THIS MCARF FORM?

     11    A.      SO IT LISTS THE INDIVIDUAL COMPONENTS, IT LISTS

     12    THEIR CAS NUMBERS, WHAT THEIR FUNCTION IS, THE STATUS

     13    WITHIN THE FDA AND THE EU IS THE NEXT ONE; AND THEN IF

     14    THERE'S ANY SPECIFIC MIGRATION LIMITS, THEY'RE LISTED

     15    THERE AS WELL.

     16    Q.      NOW, THIS INFORMATION DOES NOT HAVE THE AMOUNTS OF

     17    THE INGREDIENTS; CORRECT?

     18    A.      CORRECT.

     19    Q.      IS IT FAIR TO CALL THIS -- WE CALLED THE OTHER

     20    INFORMATION A RECIPE BECAUSE IT HAD THE AMOUNTS IN IT, IS

     21    IT FAIR TO CALL THIS A COMPOSITION?

     22    A.      CORRECT.

     23    Q.      IS THIS COMPOSITION EVEN WITHOUT THE AMOUNTS OF THE

     24    INGREDIENTS, IS IT A SHERWIN-WILLIAMS TRADE SECRET?

     25    A.      I WOULD SAY, I WOULD SAY MOST OF IT IS.       THE




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      1    DISCLOSURE OF --

      2    Q.     I'M ASKING ABOUT THE DOCUMENT IN TOTAL --

      3    A.     OKAY, THE DOCUMENT IN TOTAL, YES.

      4    Q.     -- ALL THE INFORMATION IN THIS DOCUMENT, IS THAT IN

      5    COMBINATION A SHERWIN-WILLIAMS TRADE SECRET?

      6    A.     YES.

      7    Q.     NOW, YOU'RE NOT ASSERTING IN THIS CASE THAT EVERY

      8    PIECE OF INFORMATION IN THE DEFENDANT'S POSSESSION THAT

      9    BELONGED TO SHERWIN-WILLIAMS IS A TRADE SECRET; CORRECT?

     10    A.     NO, IT'S JUST THERE FOR COMPLETENESS.

     11    Q.     IF WE COULD LOOK AT THE TOP OF -- HOW IS THIS

     12    DOCUMENT MARKED?

     13    A.     IT'S CONFIDENTIAL IN BOLD LETTERS.

     14    Q.     DID ANYONE AT COKE EVER TELL YOU YOU SHOULDN'T BE

     15    USING A CONFIDENTIALITY DESIGNATION FOR THIS

     16    INFORMATION --

     17    A.     NO.

     18    Q.     -- THAT IT WAS IN THE PUBLIC DOMAIN?

     19    A.     NO.

     20    Q.     DO YOU NOTICE ANYTHING ABOUT HOW THIS DOCUMENT

     21    APPEARS, JUST GENERALLY?

     22    A.     IT'S VERY GRAINY.     IT'S GOT RIBS THAT RUN THROUGH

     23    THE BACKGROUND AS IF -- AND THEY'RE NOT LINED UP WITH THE

     24    PAGE, SHADOWED AT THE BOTTOM.       SO, AGAIN, IT LOOKS LIKE

     25    ANOTHER FACSIMILE OF A DOCUMENT.




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      1    Q.     DOES SHERWIN-WILLIAMS PROVIDE MCARF INFORMATION TO

      2    THE SRA GROUP AS A PHOTO OF A DOCUMENT?

      3                 COURT REPORTER:     CAN YOU REPEAT THAT.

      4    Q.     DOES COKE PROVIDE INFORMATION TO THE SRA GROUP IN

      5    THESE MCARF FORMS AS A PHOTOGRAPH OF A MCARF FORM?

      6    A.     NO.

      7    Q.     UNDER THE NON-DISCLOSURE AGREEMENT IS THERE ANY

      8    LEGITIMATE REASON FOR THE DEFENDANT TO HAVE THIS

      9    INFORMATION AFTER LEAVING COKE?

     10    A.     NO.

     11    Q.     HOW VALUABLE IS THIS INFORMATION, THIS COMPOSITION,

     12    EVEN WITHOUT THE AMOUNT OF INGREDIENTS TO

     13    SHERWIN-WILLIAMS?

     14    A.     EXTREMELY IMPORTANT.

     15    Q.     AND DO YOU NOTICE ANYTHING UP AT THE TOP ON THE, THE

     16    DOCUMENT?    I CIRCLED IT HERE ON THE COMPUTER SCREEN.        DO

     17    YOU NOTICE ANYTHING?

     18    A.     I DON'T SEE ANYTHING THERE.

     19                 OH, I SEE A LITTLE, ON THE HARD COPY, YEAH, I

     20    SEE A CURSOR ERROR.

     21    Q.     WHAT DOES THAT INDICATE TO YOU?

     22    A.     THAT THIS IS LIKELY BEING PROJECTED ON SOME SORT OF

     23    COMPUTER SCREEN OR OTHER SCREEN THAT'S HOOKED TO A

     24    COMPUTER.

     25    Q.     ARE THERE PHOTOGRAPHS -- WOULD THAT, WOULD THAT




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      1    PICTURE OF A MOUSE CURSOR BE ON SHERWIN-WILLIAMS' COPY OF

      2    THIS DOCUMENT?

      3    A.      NO.

      4    Q.      WHAT WOULD BE THE VALUE TO A COMPETITOR OR WOULD-BE

      5    COMPETITOR HAVING THIS LIST OF INGREDIENTS AND ALL OF THE

      6    INGREDIENTS TOGETHER IN ONE PLACE, EVEN WITHOUT THE

      7    AMOUNTS OF THOSE INGREDIENTS?

      8    A.      IT, IT CERTAINLY GIVES THEM A TREMENDOUS ADVANTAGE

      9    IN UNDERSTANDING WHAT THE COMPONENTS ARE THAT ARE

     10    NECESSARY TO ACHIEVE THE KIND OF PERFORMANCE THAT WE

     11    DISCOVERED.

     12    Q.      AND YOU TESTIFIED BEFORE THAT WITH THE INGREDIENTS

     13    THEY'D BE OVER 90 PERCENT OF THE WAY TO A COMMERCIAL

     14    COATING, HOW FAR ALONG WOULD A WOULD-BE COMPETITOR BE IF

     15    THEY STOLE THIS INFORMATION WITHOUT THE INGREDIENTS,

     16    WITHOUT THE AMOUNTS OF THE INGREDIENTS?

     17    A.      I WOULD SAY YOU WERE 80 PERCENT OF THE WAY THERE.

     18                   MR. HUNTER:   WOULD YOU PULL UP WHAT'S

     19    PREVIOUSLY BEEN ADMITTED AS EXHIBIT 28D.

     20    Q.      DO YOU RECOGNIZE THIS E-MAIL?

     21    A.      YES.

     22    Q.      WHAT'S, WHAT'S HAPPENING IN THIS E-MAIL, WHO SENT

     23    THIS?

     24    A.      SO DAVID RIDDLE SENT THIS.      DAVID RIDDLE IS A

     25    TECHNICAL MANAGER.     HE WAS THE TECHNICAL MANAGER




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      1    RESPONSIBLE FOR OUR, OUR FORMULATION GROUP THAT FORMULATED

      2    THE BEVERAGE COATINGS.

      3    Q.     AND WHO WAS HE SENDING THIS E-MAIL TO?

      4    A.     TO SHANNON YOU.

      5    Q.     DID HE SEND IT TO ANYBODY ELSE?

      6    A.     BILL BIRNIE, WHO WAS OUR MARKETING MANAGER FOR

      7    BEVERAGE.

      8    Q.     WHERE DOES HE WORK?

      9    A.     HE'S NO LONGER WITH US, BUT HE DID WORK IN

     10    ENGLAND.

     11    Q.     FOR SHERWIN-WILLIAMS?

     12    A.     FOR VALSPAR.

     13    Q.     FOR VALSPAR.    SO SHANNON YOU WAS THE ONLY PERSON AT

     14    COKE WHO RECEIVED THIS E-MAIL; IS THAT CORRECT?

     15    A.     YES.

     16    Q.     AND I SEE THERE'S AN ATTACHMENT HERE; IS THAT RIGHT?

     17    A.     YES.

     18    Q.     HOW IS THIS E-MAIL MARKED?

     19    A.     CONFIDENTIAL.

     20    Q.     WHERE DID IT INDICATE CONFIDENTIALITY?

     21    A.     IN THE ATTACHMENTS, IN THE ATTACHMENT LINE, AS WELL

     22    AS AT THE HEAD OF THE TEXT OF THE E-MAIL.

     23    Q.     AND WHAT DOES IT SAY DOWN HERE AT THE BOTTOM, CAN

     24    YOU READ THAT?

     25    A.     IT SAYS, THIS TRANSMISSION MAY CONTAIN CONFIDENTIAL




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      1    OR PRIVILEGED INFORMATION.       UNAUTHORIZED USE IS

      2    PROHIBITED.    TRANSACTIONS ARE SUBJECT TO THE TERMS FOUND

      3    AT HTTP WWW.COATINGS.COM NOTICE.JSP.

      4    Q.     CAN YOU JUST READ THE FIRST SENTENCE OF THE E-MAIL.

      5    A.     "PLEASE FIND THE INFO YOU REQUESTED ON SLIDE 2."

      6    Q.     IT SAYS, "YOU REQUESTED", WHO IS HE REFERRING TO TO

      7    YOUR KNOWLEDGE?

      8    A.     SHANNON YOU.

      9                  MR. HUNTER:   CAN WE OPEN EXHIBIT, WHAT HAS

     10    PREVIOUSLY BEEN ADMITTED AS 28E.

     11    Q.     IS THIS THE ATTACHMENT TO THE E-MAIL WE JUST

     12    REVIEWED?

     13    A.     YES.

     14    Q.     NOW, THIS IS -- WHAT IS THIS, WHAT IS THIS DOCUMENT?

     15    A.     THIS IS A PRESENTATION TO A CAN MAKER WHO NO LONGER,

     16    WHO HAS BEEN ACQUIRED BY ANOTHER COMPANY.         IT'S CALLED

     17    REXAM OUT OF CHICAGO.

     18                  MR. HUNTER:   AND CAN WE GO TO SLIDE 2.

     19    Q.     WHAT IS THE INFORMATION DEPICTED HERE ON SLIDE 2?

     20    A.     SO THIS IS A COMPOSITION WITH AMOUNTS OF, CHEMICAL

     21    COMPOSITION WITH THE RELATIVE AMOUNTS FOR XXXXX, WHICH IS

     22    A BEVERAGE SPRAY COATING.      WE CALL IT THE GENERATION ONE

     23    AND A HALF BEVERAGE COATING.

     24    Q.     IS THIS THE V40?

     25    A.     YES.




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      1    Q.     AND YOU REFERRED TO THIS AS A COMPOSITION, BUT THIS

      2    IS ACTUALLY -- IN THE TERMS WE DEFINED THIS IS ACTUALLY A

      3    RECIPE, CORRECT, BECAUSE IT INCLUDES THE AMOUNTS OF THE

      4    INGREDIENTS?

      5    A.     YES.

      6    Q.     SO LET'S JUST GO THROUGH THAT.       WHAT IS THE

      7    INFORMATION ON THE LEFT?

      8    A.     SO ON THE LEFT IT'S THE CHEMICALS, THE CHEMICAL

      9    DESCRIPTION OF THE INDIVIDUAL COMPONENTS.

     10    Q.     AND WHAT'S THE INFORMATION IN THIS MIDDLE COLUMN?

     11    A.     THE MIDDLE COLUMN IS ON A 100 PERCENT BASIS THE

     12    AMOUNT OF EACH OF THESE COMPONENTS.

     13    Q.     AND WHAT'S THE INFORMATION IN THE RIGHT-HAND

     14    COLUMN?

     15    A.     THE RIGHT-HAND COLUMN SPLITS THE, THE COMPOSITION

     16    BETWEEN THE MATERIALS THAT ARE GOING TO GIVE WHAT WE CALL

     17    SOLIDS, SOLID MATERIAL WITHIN THE COATING, AND THEN

     18    UNDERNEATH THAT THE LIQUID PART PORTION OF THE COATING,

     19    AND BREAKS THEM OUT.

     20    Q.     AND THESE -- THIS INFORMATION IN THE MIDDLE ALL ADDS

     21    UP TO 100 PERCENT; IS THAT RIGHT?

     22    A.     YES.

     23    Q.     IS THIS INFORMATION A TRADE SECRET FOR

     24    SHERWIN-WILLIAMS?

     25    A.     YES.




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      1                     MR. HUNTER:   ALL RIGHT.    COULD WE PULL UP THE

      2    ELMO AGAIN, PLEASE.

      3    Q.       AND I THINK YOU PREVIOUSLY TESTIFIED THAT THE MCARF

      4    AT EXHIBIT 28C IS A SHERWIN-WILLIAMS TRADE SECRET; IS THAT

      5    CORRECT?

      6    A.       YES.

      7    Q.       AND YOU JUST TESTIFIED THAT THE EXHIBIT ATTACHED TO

      8    THE E-MAIL AT 28D, THE ATTACHMENT WHICH WAS 28E, THAT 28E

      9    IS A TRADE SECRET; IS THAT CORRECT?

     10    A.       YES.

     11                     MR. HUNTER:   OKAY.    PULL UP EXHIBIT 8F.

     12    Q.       ANY -- MR. MALLEN, THIS EXHIBIT HAS BEEN PREVIOUSLY

     13    ADMITTED AS EXHIBIT 8F, AND WHAT YOU HAVE IN FRONT OF YOU

     14    IN PAPER, I BELIEVE, HAS SOME REDACTIONS ON IT; IS THAT

     15    RIGHT?

     16    A.       28F, NO.

     17    Q.       8F, SORRY. 8F.

     18    A.       OH, 8F.     8F.

     19                     OH, YES, HERE IT IS.     IT'S ALL REDACTED.

     20    Q.       RIGHT.     NOW, THIS DOCUMENT CONTAINS OTHER COMPANIES'

     21    INFORMATION, BUT IF YOU GO TO THE BOTTOM, TO THE END OF

     22    THE DOCUMENT, I BELIEVE YOU'LL FIND VALSPAR INFORMATION.

     23    I THINK IF YOU GO TO PAGE 24.

     24    A.       YEAH.

     25    Q.       DO YOU RECOGNIZE THE INFORMATION STARTING AT PAGE 24




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      1    AND GOING TO THE END OF THE DOCUMENT?

      2    A.     YES.

      3                  MR. HUNTER:   IF WE COULD JUST SCROLL TO THE

      4    BOTTOM.

      5    Q.     WHAT IS THIS INFORMATION?

      6    A.     SO IT LOOKS LIKE A CONVERSATION, AN E-MAIL

      7    CONVERSATION BETWEEN CHUCK SKILLMAN, WHO WAS THE MANAGER

      8    OF OUR TECHNICAL FORMULATING GROUP FOR BEVERAGE ENDS, WITH

      9    SHANNON YOU, A COPY TO MARK HESSELING, WHO WAS A MARKET

     10    MANAGER FOR BEVERAGE.

     11    Q.     IF WE START AT THE VERY BOTTOM OF THE DOCUMENT, THEN

     12    TO THE TOP, VERY BOTTOM OF THE DOCUMENT AND WORK OUR WAY

     13    UP, IF WE COULD GO TO PAGE 29, WHAT'S THIS AT THE BOTTOM,

     14    MARCH 15, 2014?

     15    A.     IT'S A QUESTION FROM SHANNON YOU ABOUT WHAT IS XXXXX

     16    XXXX IN YOUR FORMULATION.

     17    Q.     WHY WOULD SHE ASK THAT QUESTION?

     18    A.     XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX

     19    XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX

     20    XXXXXXXXXXXXXXXXXXXXXXXXXX.

     21    Q.     AND DID DAVE RIDDLE ANSWER HER QUESTION?

     22    A.     HE SAID, SORRY FOR USING OUR SHORTHAND TERM WE USE

     23    AT VALSPAR.    IT'S XXXXXXXXXXXXXXXXXXXXXXXXXXX.

     24                  MR. HUNTER:   AND IF WE COULD GO TO THE TOP OF

     25    THE PAGE, MAYBE SCROLL DOWN SO WE'LL SEE THE HEADER.




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      1    Q.     WHAT IS THIS NEXT E-MAIL?

      2    A.     SO THIS IS FROM SHANNON YOU.

      3    Q.     WHAT'S THE DATE OF THAT?

      4    A.     FEBRUARY 10, 2016.

      5    Q.     AND WHAT DOES SHE -- WHAT'S THE CONTENTS OF THIS

      6    E-MAIL?

      7    A.     SHE ACKNOWLEDGES THAT, OKAY, IS THERE ANY -- AND

      8    THEN SHE ASKS ANOTHER QUESTION, IS THERE ANY CATALYST USED

      9    IN THE CURING PROCESS.

     10    Q.     SHE'S ASKING TECHNICAL QUESTIONS ABOUT THE

     11    FORMULATION?

     12    A.     YES.

     13                   MR. HUNTER:   SCROLL UP TO THE NEXT.

     14    Q.     CAN YOU SEE THIS E-MAIL FROM DAVE RIDDLE?

     15    A.     YEAH.

     16    Q.     WHEN DID HE SEND THAT E-MAIL?

     17    A.     FEBRUARY 10, 2016.

     18    Q.     WHO DID HE SEND IT TO?

     19    A.     THE DEFENDANT.

     20    Q.     HOW DID HE MARK HIS RESPONSE?

     21    A.     IN RED, CONFIDENTIAL, COCA-COLA/VALSPAR.

     22    Q.     WHAT DID HE SAY JUST GENERALLY?

     23    A.     HE SAID --

     24    Q.     IS HE ANSWERING HER QUESTION FROM THE PREVIOUS

     25    E-MAIL?




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      1    A.       YES.

      2                    MR. HUNTER:   GO UP TO THE NEXT, AND IF WE CAN

      3    JUST SCROLL UP UNTIL THERE'S ANOTHER E-MAIL THAT'S MARKED

      4    CONFIDENTIAL.      CONTINUE SCROLLING UP.     ALL RIGHT, STOP.

      5    SCROLL DOWN A LITTLE BIT, AND DOWN A LITTLE MORE.

      6    Q.       DO YOU SEE THIS E-MAIL FROM SHANNON YOU?

      7    A.       YES.

      8    Q.       WHAT'S THE DATE ON THAT E-MAIL?

      9    A.       FEBRUARY 9, 2016.

     10    Q.       AND WHAT IS THE CONTENTS OF THAT E-MAIL FROM SHANNON

     11    YOU TO DAVE RIDDLE?

     12    A.       SO SHE'S LOOKING FOR SOME INFORMATION ABOUT THE

     13    INSIDE SPRAY COATING, WHAT IS THE CROSS-LINKER FOR THIS

     14    COATING, AND WHAT IS THE FUNCTION FOR XXXXXXXXXXXX.

     15                    MR. HUNTER:   CAN WE GO UP.

     16    Q.       DID DAVE RIDDLE RESPOND TO HER?

     17    A.       YES.

     18    Q.       WHEN DID HE RESPOND TO HER?

     19    A.       FEBRUARY 10TH.

     20    Q.       DID HE MARK HIS RESPONSE AS CONFIDENTIAL?

     21    A.       YES.

     22    Q.       WHAT DID HE TELL HER?    DID HE ANSWER HER QUESTION?

     23    A.       YES.

     24    Q.       WAS THAT TECHNICAL INFORMATION THEY WERE SPEAKING

     25    ABOUT?




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      1    A.     YES.

      2    Q.     WAS THE INFORMATION MARKED CONFIDENTIAL IN THIS

      3    EXHIBIT 8F THAT'S CALLED COMBINE.DOCX --

      4    A.     YES.

      5    Q.     -- A VALSPAR TRADE SECRET?

      6    A.     YES.

      7                  MR. HUNTER:   IF YOU CAN PULL UP THE ELMO AGAIN,

      8    PLEASE.

      9    Q.     YOU JUST TESTIFIED THAT THE VALSPAR INFORMATION

     10    MARKED CONFIDENTIAL IN EXHIBIT 8F IS A

     11    VALSPAR/SHERWIN-WILLIAMS TRADE SECRET?

     12    A.     YES.

     13    Q.     NOW, TO THE BEST OF YOUR KNOWLEDGE DO YOUR

     14    COMPETITORS HAVE ANY OF THE INFORMATION, THE RECIPES, THE

     15    SECRET RECIPES OR THE MCARF INFORMATION THAT WE'VE MARKED

     16    AS EXHIBITS 28A, B, C AND D AND 8F THAT YOU JUST TESTIFIED

     17    WERE TRADE SECRETS, DO YOUR COMPETITORS HAVE ANY OF THAT,

     18    THOSE TRADE SECRETS?

     19    A.     NO.

     20    Q.     AND YOU HAVE SOME PRETTY FIERCE COMPETITION; DON'T

     21    YOU?

     22    A.     YES.

     23    Q.     WHO ARE SOME OF YOUR MAIN COMPETITORS?

     24    A.     PPG, AKZO-NOBEL, METLAC, ACTEGA.

     25    Q.     ARE YOU INVOLVED WITH ANY LITIGATION REGARDING, WITH




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      1    ANY OF THOSE COMPETITORS REGARDING THESE COATINGS?

      2    A.      WE'RE INVOLVED IN A PATENT INFRINGEMENT CASE WITH

      3    PPG.

      4    Q.      WHAT'S THE NATURE OF THE COMPETITION BETWEEN

      5    SHERWIN-WILLIAMS AND PPG?

      6    A.      IT'S VERY INTENSE.

      7    Q.      HOW INTENSE?

      8    A.      WELL, IT'S -- WE'RE COMPETING OVER EVERY SINGLE BIT

      9    OF BUSINESS THAT IS IN THE MARKETPLACE.

     10    Q.      DESPITE THAT FIERCE COMPETITION, IF I PULLED UP FOR

     11    YOU RIGHT NOW A PPG RECIPE THAT SHOWED ALL THE INGREDIENTS

     12    AND ALL THE AMOUNTS OF THOSE INGREDIENTS THAT MAKE A PPG

     13    COATING, WOULD YOU THINK YOU'RE LOOKING AT A TRADE SECRET?

     14    A.      YES.

     15    Q.      EVEN THOUGH THEY'RE YOUR FIERCE COMPETITOR, YOU

     16    WOULD SAY THAT THAT WAS A TRADE SECRET?

     17    A.      YEAH, THAT WOULD BE ESSENTIALLY THE JEWELS TO THE

     18    KINGDOM AND AN UNETHICAL PERSON WOULD BE ABLE TO EXPLOIT

     19    THAT.

     20    Q.      NOW, HOW MUCH MONEY DID PP, PP -- ALL RIGHT,

     21    SWITCHING COMPANIES.      HOW MUCH MONEY DID SHERWIN-WILLIAMS

     22    INVEST IN CREATING THE VALPURE LINE OF BPA-FREE COATINGS?

     23    A.      OVER $30,000,000.

     24    Q.      AND THAT WAS JUST RESEARCH AND DEVELOPMENT EXPENSE?

     25    A.      CORRECT.




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      1    Q.       HOW MUCH MONEY HAS PPG INVESTED IN CREATING

      2    FACTORIES AND MANUFACTURING FACILITIES TO CREATE AND

      3    MANUFACTURE AT MASS SCALE THE VALPURE LINE OF COATINGS?

      4    DID I SAY PPG?

      5    A.       DO YOU MEAN SHERWIN?

      6    Q.       DID SHERWIN-WILLIAMS -- I'M SORRY, THERE'S A LOT OF

      7    COMPANIES IN THIS CASE.       HOW MUCH MONEY HAS

      8    SHERWIN-WILLIAMS INVESTED IN CREATING FACTORIES AND

      9    MANUFACTURING FACILITIES TO PRODUCE VALPURE ON THAT

     10    SCALE?

     11    A.       XXXXXXXXXXXXXXXXXX.

     12    Q.       I'D LIKE TO TALK BRIEFLY ABOUT THE MEASURES THAT

     13    SHERWIN-WILLIAMS EMPLOYS TO PROTECT ITS INTELLECTUAL

     14    PROPERTY.       ARE YOU FAMILIAR WITH THE PHYSICAL OR

     15    ELECTRONIC AND NETWORK SECURITY --

     16    A.       YES.

     17    Q.       -- MEASURES THAT THE COMPANY USES?

     18    A.       YES, AS A LAY PERSON.

     19    Q.       WHAT, WHAT SORT OF PHYSICAL SECURITY MEASURES WOULD

     20    YOU ENCOUNTER IF YOU WERE TRYING TO GET INTO A

     21    SHERWIN-WILLIAMS' BUILDING THAT, WHERE YOU COULD ACCESS

     22    THIS TYPE OF INFORMATION, THE SECRET PRECIPICE WE

     23    REVIEWED?

     24    A.       SO THE, ALL THE OUTDOOR DOORS ARE, EXTERNAL DOORS OF

     25    THE BUILDINGS ARE KEY CARD ACCESS ONLY; AND THEN




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      1    INTERNALLY, ESPECIALLY IN THE LAB AREAS, THE DOORS TO THE

      2    LABORATORY ARE ALSO KEY ACCESS, KEY CARD ACCESS ONLY.

      3    Q.     ARE THERE GUARDS USED AT ANY TIME TO PROTECT THOSE

      4    FACILITIES?

      5    A.     YES, AT OFF HOURS WHEN THERE'S NOT A LOT OF PEOPLE

      6    AROUND.

      7    Q.     WHAT ABOUT LABORATORY NOTEBOOKS THAT SCIENTISTS USE,

      8    ARE THOSE PROTECTED IN ANY WAY?

      9    A.     YES.   AS SOON AS THOSE ARE FILLED UP THOSE ARE

     10    COLLECTED AND SECURED IN A, WITH A COMPANY CALLED IRON

     11    MOUNTAIN THAT STORES THEM IN AN OLD MUSHROOM MINE

     12    SOMEWHERE.

     13    Q.     AND HOW ABOUT PHOTOGRAPHY, ARE PEOPLE PERMITTED TO

     14    TAKE PHOTOGRAPHS WITHIN SHERWIN-WILLIAMS' FACILITIES OR

     15    LABORATORIES?

     16    A.     NOT WITHOUT SPECIFIC PERMISSION.

     17    Q.     WHY NOT?

     18    A.     WELL, FIRST AND FOREMOST, IT CAN BE A SAFETY HAZARD

     19    WHERE WE ARE DEALING WITH CHEMICALS, VOLATILE CHEMICALS,

     20    SOLVENTS, THINGS LIKE THAT, AND SO ANY KIND OF

     21    PHOTOGRAPHIC EQUIPMENT WOULD NEED TO BE INTRINSICALLY

     22    SAFE; BUT ALSO THOSE PHOTOGRAPHS CAN, YOU KNOW, CAPTURE

     23    MATERIAL -- CAPTURE INFORMATION THAT WE WOULD RATHER NOT

     24    HAVE IN THE PUBLIC DOMAIN.

     25    Q.     HOW EASY IS IT TO GET A WET SAMPLE OF A VALPURE




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      1    COATING?

      2    A.     UNLESS THERE'S SOME EXTRAORDINARY AGREEMENT FOR

      3    PURPOSES OF, YOU KNOW, SOMETHING OF INTEREST TO US, WE

      4    DON'T PROVIDE WET SAMPLES OF OUR COATINGS TO ANYONE OTHER

      5    THAN OUR DIRECT CUSTOMERS.

      6    Q.     ARE YOU FAMILIAR WITH THE TERM "NON-ANALYSIS

      7    AGREEMENT"?

      8    A.     YES.

      9    Q.     WHAT IS A NON-ANALYSIS AGREEMENT?

     10    A.     SO IT PROHIBITS THE SIGNER FROM HAVING SOMEONE TAKE

     11    A LOOK AT THE COATING TO TRY TO DETERMINE WHAT ITS

     12    COMPONENTS ARE THROUGH WET CHEMISTRY OR INSTRUMENTAL

     13    ANALYSIS.

     14    Q.     AND EVEN IF SOMEONE VIOLATED ONE OF THOSE AGREEMENTS

     15    AND TRIED TO DO SOME OF THAT ANALYSIS, COULD THEY EASILY

     16    RECREATE THE SECRET RECIPES THAT WE REVIEWED?

     17    A.     NO.    IT'S VERY DIFFICULT.

     18    Q.     IS IT EVEN POSSIBLE TO GET TO THAT SAME LEVEL OF

     19    DETAIL?

     20    A.     NO.    I MEAN, THE, THE AMOUNT OF EFFORT THAT IT WOULD

     21    REQUIRE WOULD BE PROHIBITIVE.

     22    Q.     NOW, HOW ABOUT NETWORK AND COMPUTER SECURITY AT

     23    SHERWIN-WILLIAMS, WHAT DOES IT TAKE TO LOG INTO A COMPUTER

     24    AT SHERWIN-WILLIAMS, COMPANY COMPUTER?

     25    A.     SO YOU HAVE TO HAVE A BOOT PASSWORD THAT PREVENTS




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      1    ANYONE FROM HACKING INTO THE COMPUTER UNLESS THEY HAVE

      2    THAT PASSWORD, AND THEN SUBSEQUENTLY YOU NEED A PASSWORD

      3    THAT IS SPECIFIC TO YOU, AND IT'S CHANGED EVERY XXXXXXX.

      4    Q.     AND ARE YOU ALLOWED TO SEND FORMULATIONS, SECRET

      5    RECIPE INFORMATION LIKE WE REVIEWED OVER E-MAIL?

      6    A.     NO.

      7    Q.     HOW ABOUT DO THE COMPUTERS JUST STAY ON, IF YOU

      8    LEAVE A COMPUTER ON, WILL IT -- IF YOU HAVE A SECRET

      9    RECIPE ON THERE, WOULD IT JUST STAY ON YOUR SCREEN FOR A

     10    LONG TIME?

     11    A.     NO.    THERE'S A SCREEN SAVER, WHICH IF IT DOESN'T

     12    DETECT ANY KIND OF ACTIVITY, IT WILL SWITCH TO A SCREEN

     13    THAT REQUIRES YOU TO LOG BACK IN.

     14    Q.     TYPE IN YOUR PASSWORD AGAIN?

     15    A.     YES.

     16    Q.     HOW ABOUT USB PERSONAL DEVICES, STORAGE DEVICES THAT

     17    YOU MIGHT PLUG INTO A COMPUTER, CAN YOU USE THOSE ON A

     18    SHERWIN-WILLIAMS COMPUTER?

     19    A.     NO.    THOSE HAVE BEEN BANNED, AND EVERYTHING IS

     20    NETWORKED TO PREVENT THAT.

     21    Q.     ARE YOU FAMILIAR WITH THE XXXXXX SYSTEM?

     22    A.     YES.

     23    Q.     WHAT'S THE XXXXXX SYSTEM?

     24    A.     IT'S A FORMULATION SYSTEM WHICH ALLOWS FORMULATORS

     25    TO SELECT FROM RAW MATERIALS TO BUILD A FORMULA AND THEN




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      1    TO SEARCH FOR ALTERNATIVES THEY MIGHT CONSIDER USING.

      2    Q.     DOES EVERYONE IN THE COMPANY HAVE ACCESS TO THAT

      3    SYSTEM?

      4    A.     NO.

      5    Q.     DOES EVERYONE IN THE COMPANY HAVE ACCESS TO THE

      6    SECRET RECIPES THAT WE REVIEWED?

      7    A.     NO.

      8    Q.     DOES SHERWIN-WILLIAMS' IT DEPARTMENT USE ANY

      9    SOFTWARE TO DETECT SUSPICIOUS BEHAVIOR ON THE NETWORK?

     10    A.     YEAH.   THERE'S A SOFTWARE PROGRAM CALLED XXXXXXX

     11    XXXXXXXX WHICH MONITORS EVERY KEYSTROKE THAT'S MADE, AND

     12    IF THERE ARE SUSPICIOUS, IF THERE IS SUSPICIOUS ACTIVITY,

     13    THEY WILL FOLLOW UP ON IT.

     14    Q.     HOW ABOUT TRAINING AT SHERWIN-WILLIAMS, DOES

     15    SHERWIN-WILLIAMS REQUIRE TRAINING OF ITS EMPLOYEES IN

     16    INFORMATION SECURITY?

     17    A.     YES.

     18    Q.     WHAT SORT OF TRAINING?

     19    A.     WELL, ONE OF THE THINGS IS THAT THEY HAVE US ALL GO

     20    THROUGH CODE OF CONDUCT TRAINING WHICH INVOLVES OUR

     21    RESPONSIBILITIES IN TERMS OF PROTECTING SENSITIVE

     22    INFORMATION.

     23    Q.     AND WOULD SHERWIN-WILLIAMS EVER PROVIDE THE SECRET

     24    RECIPE COMPOSITIONS THAT WE REVIEWED TO ANYONE OUTSIDE OF

     25    THE COMPANY WITHOUT A NON-DISCLOSURE AGREEMENT IN PLACE?




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      1    A.     NO.

      2    Q.     I JUST WANT TO SWITCH YOUR ATTENTION TO CHINA FOR A

      3    MOMENT.    DOES SHERWIN-WILLIAMS HAVE FACTORIES IN CHINA?

      4    A.     YES.

      5    Q.     DO ANY OF THOSE FACTORIES MANUFACTURE THE VALPURE

      6    LINE OF BPA-FREE PRODUCTS?

      7    A.     NO.

      8    Q.     WHY NOT?

      9    A.     THEY'RE TOO SENSITIVE TO, TO HAVE AT THE

     10    MANUFACTURING SITES IN THAT REGION.

     11    Q.     AND WHY, WHY IS IT TOO SENSITIVE TO HAVE IN THAT

     12    REGION?

     13    A.     THE, THE INTEGRITY OF THE, THE FORMULAS ARE AT RISK.

     14    Q.     HOW COME?

     15    A.     BECAUSE IF OPERATORS ARE PUTTING THESE PRODUCTS

     16    TOGETHER, THEN THEY KNOW THE INGREDIENTS AND THEY KNOW HOW

     17    MUCH IS USED, THEY HAVE A RECIPE TO WORK FROM IN ORDER TO

     18    MAKE THE PRODUCT.

     19    Q.     SO YOU DON'T ALLOW THAT TO BE MANUFACTURED IN CHINA,

     20    BUT YOU DO ALLOW IT TO BE MANUFACTURED IN THE UNITED

     21    STATES?

     22    A.     IN THE UNITED STATES AND IN SINGAPORE IN THE ASIAN

     23    REGION.

     24    Q.     DO ANY EMPLOYEES AT THE FACTORY IN CHINA HAVE ACCESS

     25    TO THE SECRET RECIPES WE REVIEWED?




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      1    A.     ONLY ONE, THE DIRECTOR OF TECHNOLOGY WHO IS LOCATED

      2    IN SINGAPORE, HE HAS ACCESS TO IT.

      3    Q.     DOES HE ACCESS THAT THROUGH THE XXXXXX SYSTEM?

      4    A.     YES.

      5    Q.     IS THAT A SECURE SYSTEM?

      6    A.     YES.

      7    Q.     NOW, IN YOUR ROLE AS A VICE-PRESIDENT OF COMPLIANCE

      8    AND TECHNOLOGY MARKETING, ARE YOU FAMILIAR WITH HOW

      9    SHERWIN-WILLIAMS USES PATENTS AND TRADE SECRETS TO PROTECT

     10    ITS INTELLECTUAL PROPERTY AND COATINGS?

     11    A.     YES.

     12    Q.     AND ARE THE SECRET PRECIPICE THAT WE REVIEWED AND

     13    THE COMPOSITIONS, THAT INFORMATION CONSIDERED ALTOGETHER,

     14    IS THAT IN ANY PATENT THAT SHERWIN-WILLIAMS PUBLISHES?

     15    A.     NO.

     16    Q.     WHAT, WHAT KIND OF INFORMATION DOES SHERWIN-WILLIAMS

     17    PUT IN PATENTS AS, THAT MAKES IT DIFFERENT FROM THE TRADE

     18    SECRETS THAT WE REVIEWED?

     19    A.     SO SHERWIN-WILLIAMS PATENTS AT A VERY EARLY STAGE OF

     20    DEVELOPMENT, AND USUALLY AT THAT TIME THE ONLY THING

     21    THAT'S DEVELOPED AND FOR CERTAIN ARE, IS THE POLYMER, SO

     22    THE MAIN POLYMER, AND WE ONLY PATENT IT, AND WE ARE ONLY

     23    ALLOWED TO PATENT IT IF IT'S NOVEL, AND SO THE PATENTS

     24    HAVE TO TEACH THAT INFORMATION TO THE GENERAL -- TO THE

     25    PUBLIC IN ORDER TO GET A PATENT; AND THEN EVERYTHING ELSE




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      1    THAT COMES AFTER THAT IN TERMS OF DEVELOPMENT, WHICH IS

      2    THE, THE COINGREDIENTS, THE WAY THE MATERIAL IS MADE, THE

      3    WAY IT'S MANUFACTURED, WHICH INGREDIENT IS PUT IN FIRST,

      4    WHICH INGREDIENT IS COOKED AT A CERTAIN TEMPERATURE UNTIL

      5    IT'S READY TO BE MADE, ALL OF THAT INFORMATION IS TRADE

      6    SECRET INFORMATION THAT IS NOT DISCLOSED IN THE PATENTS.

      7    Q.     AND IS THAT INFORMATION IN THE WORK TO GET TO THAT

      8    INFORMATION, IS THAT REFLECTED IN THE TRADE SECRETS THAT

      9    WE REVIEWED?

     10    A.     SOME OF IT IS.

     11    Q.     HOW MUCH WORK DOES IT TAKE TO GO FROM WHAT'S IN A

     12    SHERWIN-WILLIAMS PATENT TO GET TO THE FINAL PRODUCT, AN

     13    ACTUAL COATING, HOW MUCH SCIENCE IS INVOLVED IN THAT?

     14    A.     YEARS AND YEARS.

     15                  MR. HUNTER:   CAN WE PULL UP FOR THE WITNESS

     16    ONLY EXHIBIT 32O.

     17    Q.     ARE YOU FAMILIAR WITH THIS DOCUMENT?

     18    A.     YES.

     19    Q.     WHAT IS IT?

     20    A.     THIS IS A, A PATENT BY THE COCA-COLA COMPANY NAMING

     21    THE DEFENDANT, YU SHI AND LINDA LIU.

     22    Q.     AND THEIR NAMES IS IN WHAT CAPACITY ON THIS PATENT?

     23    A.     AS INVENTORS.

     24                  MR. HUNTER:   YOUR HONOR, AT THIS TIME THE

     25    GOVERNMENT MOVES TO PUBLISH AND ADMIT 32O.




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      1                  THE COURT:   ALL RIGHT.    32O IS ADMITTED AND MAY

      2    BE PUBLISHED.

      3    Q.     HAVE YOU REVIEWED THIS PATENT PRIOR TO THIS CASE?

      4    A.     YES.

      5    Q.     WHAT'S THE, WHAT'S THE TITLE OF THIS PATENT?

      6    A.     POLYMER COMPOSITIONS AND COATINGS FOR FOOD AND

      7    BEVERAGE PACKAGING.

      8    Q.     WHAT DATE WAS THIS PATENT ISSUED?

      9    A.     IT WAS ISSUED APRIL 23, 2019.

     10    Q.     AND YOU MENTIONED PREVIOUSLY THE NAMED INVENTORS ON

     11    THIS PATENT, WHO ARE THEY AGAIN?

     12    A.     THE DEFENDANT -- WELL, THEY'RE ALL COCA-COLA

     13    EMPLOYEES, THE DEFENDANT, HER BOSS, YU SHI, AND LINDA

     14    LIU.

     15    Q.     NOW, THOSE ARE THE OWNERS -- SORRY, THOSE ARE THE

     16    INVENTORS OF THE PATENT, WHO OWNS THE PATENT?

     17    A.     COCA-COLA, COCA-COLA COMPANY.

     18    Q.     TO THE BEST OF YOUR KNOWLEDGE DOES XIAORONG YOU HAVE

     19    ANY RIGHTS TO THIS PATENT?

     20    A.     NO.

     21    Q.     DOES YU SHI?

     22    A.     NO.

     23    Q.     WHAT -- DID YOU REVIEW THIS PATENT TO TRY TO

     24    DETERMINE WHAT WAS THE SUPPOSED INVENTION?

     25    A.     YES.




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      1    Q.     WHAT DID YOU DETERMINE -- WHAT INVENTION DOES THIS,

      2    OR PURPORTED INVENTION DOES THIS PATENT DESCRIBE?

      3    A.     WELL, IT --

      4    Q.     OR LET ME REPHRASE THAT.      WHAT PURPORTED INVENTION

      5    DOES THIS PATENT CLAIM AS A LEGAL RIGHT?

      6    A.     IT CLAIMS THAT TWO INGREDIENTS, ONE A CYCLIC ETHER

      7    AND ONE AN ACRYLATE, IN COMBINATION WITH OTHER MATERIALS

      8    COULD BE USED AS A BEVERAGE COATING TO LIMIT THE AMOUNT OF

      9    SCALPING THAT OCCURS OUT OF THE FLAVOR OF A, OF A

     10    BEVERAGE.

     11    Q.     AND WHEN YOU REVIEWED THIS PATENT, WHAT WAS YOUR

     12    IMPRESSION OF THE INFORMATION DISCLOSED IN THIS PURPORTED

     13    INVENTION?

     14    A.     SO ON THE ONE HAND THE DESCRIPTION WITHIN THE BODY

     15    OF THE PATENT IS VERY BROAD, VERY AMORPHOUS, WHEREAS THE

     16    CLAIMS ARE VERY SPECIFIC, AND IT, IT LOOKED TO ME LIKE IT

     17    WAS SORT OF A JUMBLED-UP GRAB BAG OF INFORMATION STUFFED

     18    INTO A PATENT THAT EVENTUALLY ENDED UP PROVIDING ALMOST

     19    NOTHING AT THE END.

     20    Q.     WHEN YOU SAY "PROVIDE ALMOST NOTHING", WHAT DO YOU

     21    MEAN BY THAT?

     22    A.     NO MATERIAL WOULD ACTUALLY PERFORM AS IT WOULD NEED

     23    TO PERFORM.

     24    Q.     IN YOUR OPINION DID THIS PATENT DISCLOSE OR CLAIM A

     25    COMMERCIALLY VIABLE COATING?




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      1    A.     NOT IN MY OPINION, NO.

      2    Q.     AND HOW -- JUST DID YOU -- HOW DOES THIS PATENT

      3    COMPARE TO OTHER PATENTS, FOR EXAMPLE, THAT

      4    SHERWIN-WILLIAMS --

      5                 COURT REPORTER:     COULD YOU REPEAT THAT.

      6    Q.     HOW DOES THIS PATENT OWNED BY COCA-COLA COMPARE TO

      7    PATENTS THAT SHERWIN-WILLIAMS HAS IN THE FIELD OF

      8    COATINGS?

      9    A.     SO OUR PATENTS ARE VERY FOCUSED ON GENERATING, YOU

     10    KNOW, THE ABILITY TO PRACTICE IN A SPECIFIC AREA, AND

     11    THERE'S, YOU KNOW, THERE'S A CERTAIN AMOUNT OF BREADTH TO

     12    THEM, BUT NOT TO THE EXTENT THAT THIS ONE HAS, AND THERE

     13    ARE MANY CLAIMS THAT ARE VALUABLE TO US FROM AN

     14    INTELLECTUAL PROPERTY STANDPOINT.

     15    Q.     AND NOW JUST TO SUMMARIZE SOME OF YOUR OPINIONS,

     16    GIVEN THE VALUABLE TRADE SECRET INFORMATION THAT WE

     17    DISCUSSED, WHAT WOULD BE THE VALUE TO A WOULD-BE

     18    COMPETITOR OF HAVING THE SECRET RECIPES FROM

     19    SHERWIN-WILLIAMS THAT WE REVIEWED?

     20    A.     SO IT WOULD ALLOW THEM TO SHORT-CUT YEARS AND YEARS

     21    OF RESEARCH AND THE MONEY THAT'S ASSOCIATED WITH THAT.           IT

     22    WOULD INDICATE TO THEM EXACTLY THE PATHWAY THAT THEY

     23    NEEDED TO FOLLOW TO HAVE A COMMERCIAL PRODUCT IN A VERY

     24    SHORT PERIOD OF TIME.

     25    Q.     WHAT WORK WOULD REMAIN FOR SOMEONE WHO STOLE THIS




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      1    INFORMATION TO GET TO A COMMERCIAL PRODUCT?

      2    A.     THEY WOULD HAVE TO FIGURE OUT, IN SOME CASES LIKE,

      3    FOR INSTANCE, THE ACRYLIC IS NOT SPECIFIC, IT'S DESCRIBED

      4    AS AN ACRYLIC RESIN, HOWEVER, IN SOME OTHER PIECES OF THIS

      5    INFORMATION THE ACRYLIC IS ACTUALLY EXPLICITLY DESCRIBED;

      6    SO THEN IT COMES DOWN TO A COUPLE OF EXPERIMENTS TO SEE

      7    HOW WOULD THAT ACRYLIC, FOR INSTANCE, BE PUT TOGETHER, IS

      8    IT STARTED OFF WITH ONE MONOMER OR TWO MONOMERS, DO YOU

      9    START WITH A WHOLE POLYMER OR DO YOU START WITH A RANDOM

     10    COPOLYMER, AND SO THOSE QUESTIONS CAN BE RAPIDLY ANSWERED

     11    AND, AND END UP WITH A FINAL FORMULA.

     12    Q.     AND WOULD THAT WOULD-BE COMPETITOR HAVE TO FIGURE

     13    OUT HOW TO SCALE UP MANUFACTURING TO MANUFACTURE A COATING

     14    AT SCALE?

     15    A.     YES.

     16    Q.     WOULD IT BE HELPFUL IN DOING THAT TO HAVE A COMPANY

     17    LIKE METLAC JOIN YOUR TEAM?

     18    A.     YES.

     19    Q.     NOW, ONCE A COMPETITOR OR WOULD-BE COMPETITOR

     20    DEVELOPED A NEW COATING AND SCALED IT UP, WOULD THEY BE

     21    ABLE TO COMPETE GLOBALLY IN THE COATINGS MARKETPLACE?

     22    A.     YES.

     23    Q.     WOULD THEY BE ABLE TO TAKE AWAY MARKET SHARE FROM

     24    SHERWIN-WILLIAMS?

     25    A.     YES.




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      1    Q.     WOULD THEY POTENTIALLY BE ABLE TO SELL THEIR COATING

      2    MORE CHEAPLY THAN SHERWIN-WILLIAMS?

      3    A.     YES, BECAUSE --

      4    Q.     HOW COME?

      5    A.     -- THEY DIDN'T HAVE THE UP-FRONT COSTS.

      6    Q.     NOW I WANT TO ASK YOU A HYPOTHETICAL QUESTION.         IF

      7    YOU HAD ACCESS TO A LARGE CHEMICAL MANUFACTURER FOR RAW

      8    MATERIALS, YOU HAD SOME SEED FUNDING OF SEVERAL MILLION

      9    DOLLARS AND A LABORATORY WITH ALL THE RELEVANT LAB

     10    EQUIPMENT AND THEN YOU ADDED IN SHERWIN-WILLIAMS' SECRET

     11    RECIPES AND POTENTIALLY A MID-SIZED FORMULATOR LIKE

     12    METLAC, WHAT WOULD YOU BE ABLE TO DO WITH ALL OF THAT?

     13    A.     WELL, YOU'D BE ABLE TO RAPIDLY ENTER THE MARKET WITH

     14    A PRODUCT THAT WOULD COMPETE AGAINST OUR MATERIAL.

     15                  MR. HUNTER:   WOULD YOU PULL UP WHAT'S BEEN

     16    PREVIOUSLY MARKED AS EXHIBIT 8B AND ADMITTED AS 8B.

     17    Q.     CAN YOU JUST READ THE TITLE OF THIS DOCUMENT,

     18    MR. MALLEN?

     19    A.     THE NATIONAL THOUSAND TALENTS PROGRAM APPLICATION,

     20    LONG-TERM PROGRAM FOR INNOVATIVE TALENTS-ENTERPRISE.

     21    Q.     AND WHOSE NAME IS ON THIS DOCUMENT?

     22    A.     XIAORONG YOU.

     23    Q.     WHAT ORGANIZATION IS REPRESENTED THERE?

     24    A.     THE WEIHAI JINHONG GROUP COMPANY, LIMITED.

     25                  MR. HUNTER:   IF WE COULD SCROLL TO PAGE 14,




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      1    SECTION 4.    JUST BLOW THAT UP.

      2    Q.     COULD YOU JUST READ THAT PARAGRAPH UP UNTIL THE LINE

      3    I DREW THERE.

      4    A.     SO EXPECTED CONTRIBUTIONS.       DOMESTIC MARKET SIZE IS

      5    ESTIMATED TO BE APPROXIMATELY CHINESE 20 BILLION YUAN.

      6    THE COMPANY WILL BUILD THE FIRST BPANI, MEANING BISPHENOL

      7    A NON-INTENTIONALLY ADDED, COATING PRODUCTION LINE IN

      8    CHINA WITH A PROJECTED INVESTMENT OF 180 MILLION JUAN AND

      9    EXPECTED INDUSTRIAL PRODUCTION IN MAY OF 2020.          ONCE

     10    PRODUCTION IS UP AND RUNNING, PROMOTION WILL BE CARRIED

     11    OUT NATIONWIDE WHILE COCA-COLA PRODUCT APPLICATIONS

     12    CONTINUE TO BE FULFILLED.

     13    Q.     AND YOU CAN STOP RIGHT THERE.       CAN YOU START READING

     14    WHERE IT SAYS, EVERY EFFORT.

     15    A.     EVERY EFFORT WILL BE MADE TO BOOST PRODUCT PROMOTION

     16    IN THE ASIA PACIFIC AND U.S. MARKETS AND ACHIEVE MORE THAN

     17    80 MILLION U.S. DOLLARS IN ANNUAL EXPORT EARNINGS.             UPON

     18    ITS COMPLETION THE PROJECT IS ANTICIPATED TO BREAK THE

     19    INTERNATIONAL MONOPOLY AND FILL THE GAP IN ASIA.

     20    Q.     YOU CAN STOP RIGHT THERE.      IF SOMEONE WERE ABLE TO

     21    ACHIEVE THOSE GOALS, WOULD THEY BE ABLE TO HARM

     22    SHERWIN-WILLIAMS?

     23    A.     YES.

     24    Q.     WOULD THEY HARM OTHER COMPANIES IN THE FIELD LIKE

     25    PPG, AKZO-NOBEL?




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      1    A.     YES.

      2                  MR. HUNTER:   IF YOU CAN SCROLL TO PAGE 18.

      3    Q.     COULD YOU READ THIS PARAGRAPH STARTING AT DR. YOU.

      4    A.     DR. YOU HAS APPLIED FOR 41 PATENTS AND PUBLISHED

      5    MANY PAPERS IN WELL-KNOWN JOURNALS AND CONFERENCES

      6    INTERNATIONALLY.     THE BPANI COATING PRODUCT SHE HAS

      7    DEVELOPED ARE CURRENTLY THE MOST ADVANCED PRODUCTS IN THE

      8    WORLD AND ARE ALTERNATIVES FOR EXISTING INNER WALL

      9    COATINGS.     SHE IS BRINGING ALONG THIS TECHNOLOGY AS A PART

     10    OF AN EXTENSIVE COOPERATION WITH OUR COMPANY.         THE

     11    IMPLEMENTATION OF THIS PROJECT WILL ADVANCE CURRENT

     12    PACKAGING TECHNOLOGIES OF THE DOMESTIC FOOD AND BEVERAGE

     13    INDUSTRY AS A WHOLE AND ENSURE THAT RELATED CHINESE

     14    INDUSTRIES WILL NOT BE PUT UNDER A BLOCKADE BY GREEN AND

     15    TECHNICAL INTERNATIONAL TRADE BARRIERS, AVERTING HUGE

     16    ECONOMIC LOSSES FOR ITS MANUFACTURERS.        IN VIEW OF THESE

     17    FACTS, THE COMPANY RECOMMENDS THE SELECTION OF DR. YOU

     18    XIAORONG BY THE THOUSAND TALENTS PROGRAM.

     19    Q.     MR. MALLEN, TO THE BEST OF YOUR KNOWLEDGE HAS

     20    DR. YOU DEVELOPED ANY BPANI COATING PRODUCTS?

     21    A.     NO.

     22    Q.     HAS SHE DEVELOPED ANY THAT ARE THE MOST ADVANCED

     23    PRODUCTS IN THE WORLD?

     24    A.     NO.

     25    Q.     HAS SHERWIN-WILLIAMS DEVELOPED SOME BPANI COATINGS




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      1    PRODUCTS THAT ARE AMONG THE MOST ADVANCED IN THE WORLD?

      2    A.      YES.

      3                   MR. HUNTER:     FINALLY, CAN WE PULL UP THE ELMO.

      4    Q.      I JUST WANT TO CONFIRM THE DOCUMENTS THAT YOU

      5    RECEIVED FROM THE FBI AND ARE REPRESENTED AS FOUND ON THE

      6    DEFENDANT'S HARD DRIVE THAT YOU TESTIFIED ARE

      7    SHERWIN-WILLIAMS' TRADE SECRETS ARE EXHIBITS 28A, 28B,

      8    28C, 28E, WHICH IS AN ATTACHMENT TO EXHIBIT 28D, AND

      9    INFORMATION FOUND IN EXHIBIT 8F; IS THAT CORRECT?

     10    A.      YES.

     11                   MR. HUNTER:     NO FURTHER QUESTIONS AT THIS

     12    TIME.

     13                   THE COURT:     ALL RIGHT.     CROSS EXAMINATION.

     14                   MR. SHIPLEY:     YOUR HONOR, BEFORE I BEGIN, WOULD

     15    THE COURT LIKE ME TO REACH A STOPPING POINT SOMETIME

     16    BEFORE 12:30?

     17                   THE COURT:     AROUND 12:30, YES.

     18                   MR. SHIPLEY:     THANK YOU.

     19                            CROSS EXAMINATION

     20    BY MR. SHIPLEY:

     21    Q.      MR. MALLEN, GOOD MORNING, OR I GUESS I SHOULD SAY

     22    GOOD AFTERNOON.

     23    A.      GOOD AFTERNOON.

     24    Q.      I'M COREY SHIPLEY, AND I'M ONE OF DR. YOU'S

     25    ATTORNEYS IN THIS CASE.




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      1                    LET'S BEGIN BEFORE WE BREAK FOR LUNCH TO TALK A

      2    LITTLE BIT ABOUT, I THINK YOU CAN AGREE WITH ME THAT

      3    YOU'RE HERE TODAY CLAIMING THAT DR. YOU HAS MISAPPRO-

      4    PRIATED OR TAKEN MATERIAL FROM YOUR COMPANY; IS THAT

      5    RIGHT?

      6    A.       YES.

      7    Q.       AND AS OF TODAY -- WHAT DID YOU SAY YOUR COMPANY'S

      8    ANNUAL REVENUE IS, HOW MANY BILLION, 118?

      9    A.       EIGHTEEN BILLION.

     10    Q.       EIGHTEEN BILLION.     AND FROM THE TIME THAT MOST OF

     11    THE STUFF WE'VE TESTIFIED TO OR YOU'VE TESTIFIED TO TODAY,

     12    HAS YOUR COMPANY BEEN, HAVE YOU SEEN ANY DROP IN REVENUE

     13    FROM LACK OF MARKET SHARE WHEN IT COMES TO CAN COATING?

     14                    MR. HUNTER:    OBJECTION, YOUR HONOR, RELEVANCE.

     15    THE DEFENDANT WAS CAUGHT BEFORE SHE COULD PUT HER

     16    SCHEME --

     17                    THE COURT:    I'M NOT SURE IT HAS ANY RELEVANCE,

     18    BUT I'LL LET HIM ANSWER.        IT MIGHT HAVE SOME REMOTE

     19    RELEVANCE.

     20                    SO THE QUESTION IS, MR. MALLEN, HAS

     21    SHERWIN-WILLIAMS SEEN ANY DROP IN ITS REVENUES SINCE, SAY,

     22    2017, GLOBAL REVENUE IN THE COATING FIELD?

     23    A.       I WOULD SAY THAT WE HAVE SEEN NEGATIVE IMPACTS IN

     24    TERMS OF REVENUE GROWTH AND, IN CERTAIN AREAS, YES.

     25    BY MR. SHIPLEY:




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      1    Q.     AS YOU SIT HERE TODAY AS FAR AS THE MATERIAL THAT

      2    YOU TESTIFIED TO HERE TODAY THAT MR. HUNTER PUT UP ON THE

      3    ELMO THAT YOU'VE IDENTIFIED AS TRADE SECRETS --

      4    A.     YES.

      5    Q.     -- YOU DON'T HAVE ANY INFORMATION THAT ANY OF THOSE

      6    MATERIALS HAVE EVER BEEN GIVEN TO ANYBODY; DO YOU?

      7    A.     COULD YOU REPEAT THE QUESTION, PLEASE.

      8    Q.     AS YOU SIT HERE TODAY, THOSE DOCUMENTS THAT

      9    MR. HUNTER PUT ON THE ELMO HERE --

     10    A.     YES.

     11    Q.     -- THE PROJECTOR, AS YOU SIT HERE TODAY, YOU HAVE NO

     12    INFORMATION THAT THOSE DOCUMENTS HAVE EVER GONE ANYWHERE;

     13    DO YOU?

     14                  MR. HUNTER:     OBJECTION, YOUR HONOR, SAME

     15    OBJECTION.    THE DEFENDANT WAS CAUGHT BEFORE --

     16                  THE COURT:     IT'S HER ATTEMPT THAT'S IMPORTANT

     17    HERE, MR. SHIPLEY.     I DON'T BELIEVE THAT IS RELEVANT.

     18    SUSTAINED.

     19                  MR. SHIPLEY:     YOUR HONOR, I'LL SWITCH GEARS.

     20    Q.     MR. MALLEN, WHO IS TERESA MCGRATH AND BOB ISRAEL?

     21    A.     SO TERESA MCGRATH WAS A, WELL, STILL IS, SORRY, IS A

     22    TOXICOLOGIST, AND BOB ISRAEL WAS THE VICE-PRESIDENT OF

     23    REGULATORY AFFAIRS FOR VALSPAR, BOTH OF WHICH WORKED IN

     24    THE MINNEAPOLIS OFFICE.       TERESA HAS SINCE LEFT OUR COMPANY

     25    AND WORKS FOR A ARCHITECTURAL PRODUCTS COMPANY.




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      1    Q.     AND YOU AS THE, THE VICE-PRESIDENT OF COMPLIANCE AND

      2    TECHNICAL MARKETING, DO YOU SEE WHAT ARTICLES ARE

      3    PUBLISHED THAT COME OUT OF YOUR COMPANY IN PERIODICALS,

      4    MAGAZINES, NEWSPAPERS?

      5    A.     SOMETIMES I DO.

      6    Q.     WOULD IT, WOULD IT SURPRISE YOU THAT AS EARLY AS

      7    2017 ARTICLES, OR THOSE TWO INDIVIDUALS THAT YOU JUST

      8    IDENTIFIED HAVE PUBLISHED INFORMATION STATING THAT THIS

      9    V70 FORMULA AND OTHER OF THIS VALPURE FORMULA SHOULDN'T

     10    EVEN BE CONSIDERED A TRADE SECRET?

     11    A.     IT WAS BROUGHT TO MY ATTENTION THAT THEY HAD

     12    PRESENTED SOME INFORMATION TO AN ORGANIZATION CALLED GREEN

     13    BIZ ABOUT, SPECIFICALLY ABOUT A PHENOLIC THAT WE'RE USING

     14    FOR NON-BPA AND THE EPOXY RESIN THAT'S MADE FROM IT, BUT

     15    NO OTHER COMPONENTS OF ANY OF THOSE COATINGS, WHICH NOT

     16    EVEN THEY HAD ACCESS TO.

     17                  MR. SHIPLEY:   NOW, COULD WE JUST GO FOR THE

     18    WITNESS ONLY, PLEASE.

     19                  PULL UP EXHIBIT 77, PLEASE.

     20    Q.     MR. MALLEN, DO YOU RECOGNIZE THAT ARTICLE?

     21    A.     YES.

     22    Q.     AND IS THAT AN ARTICLE AT THE TOP UP THERE THAT'S

     23    FROM MS. MCGRATH AND BOB ISRAEL?

     24    A.     YES.

     25                  MR. SHIPLEY:   YOUR HONOR, AT THIS TIME I'D LIKE




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      1    TO PUBLISH THIS TO THE JURY, DEFENSE EXHIBIT NUMBER 77.

      2                 THE COURT:    ALL RIGHT.    IT'S ADMITTED, IT'S

      3    NUMBER 77, AND LET IT BE PUBLISHED.

      4    Q.     AND LET'S -- IF YOU COULD GO TO THE TOP OF PAGE 2,

      5    PLEASE.    MR. MALLEN, COULD YOU READ FOR THE JURY THE

      6    SECOND PARAGRAPH THERE WHERE IT STARTS "TO DEVELOP".

      7    A.     TO DEVELOP THIS INNOVATIVE TECHNICAL SOLUTION,

      8    VALSPAR ENGAGED IN A HOLISTIC STRATEGY PARTNERING WITH A

      9    RANGE OF NGOS, ACADEMICS, TOXICOLOGISTS AND BRAND OWNERS,

     10    FOLLOWING THIS WITH EXTENSIVE TESTING AND UNCONVENTIONAL

     11    COMMUNICATION STRATEGY.

     12    Q.     AND WHAT'S THAT REFER TO?

     13    A.     SO THAT REFERS TO, AGAIN, THE BISPHENOL FOR THE

     14    VALPURE V70 NON-BPA EPOXY, ALL OF THE TOXICOLOGY TESTING,

     15    ALL OF THE CONSULTATION ON THAT MATERIAL WITH EXPERTS IN

     16    THE FIELD, SO THAT WAS OUR OUTREACH PROCESS IS WHAT

     17    THEY'RE TALKING ABOUT.

     18    Q.     NOW, DURING THAT OUTREACH PROCESS FROM ALL THOSE

     19    PEOPLE, IS THAT SOMETHING THAT YOU WOULD TYPICALLY, AS WE

     20    DISCUSSED IN THE EXHIBIT 5 SERIES EARLIER TODAY, IS THAT

     21    SOMETHING THAT YOU WOULD HAVE THEM SIGN A NON-DISCLOSURE

     22    AGREEMENT?

     23    A.     NO.

     24    Q.     ALL RIGHT, BECAUSE IF YOU LOOK ON PAGE 3, IF YOU

     25    COULD JUST READ THE, THE PARAGRAPH BEGINNING "EMBRACING




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      1    TRANSPARENCY".

      2    A.     EMBRACING TRANSPARENCY.      LAST, RATHER THAN CLAIM

      3    THIS NEW MOLECULE AND COATING AS TRADE SECRET, VALSPAR

      4    THOROUGHLY PROTECTED THE INTELLECTUAL PROPERTY WHICH

      5    INCLUDES 49 PATENTS.      THIS ALLOWED US TO INVITE THE PUBLIC

      6    TO REVIEW THE DATA THEMSELVES BY MAKING THE V70 POLYMER

      7    CHEMICAL IDENTITY AND HAZARD DATA PUBLICLY AVAILABLE ON

      8    VALSPAR'S WEBSITE.

      9    Q.     AND LET'S GO BACK TO PAGE 2.       NOW, I'LL TALK WITH

     10    YOU MORE ABOUT THIS AFTER LUNCH, BUT WE'VE TALKED A LOT

     11    ABOUT MONOMERS TODAY; IS THAT RIGHT?

     12    A.     A LITTLE BIT.

     13    Q.     OKAY.   AND ONE OF THOSE MONOMERS THAT WE'VE TALKED

     14    ABOUT IS THIS TETRAMETHYL BISPHENOL F?

     15    A.     CORRECT.

     16    Q.     AND IF YOU LOOK AT THE, JUST IN GENERAL ON THAT

     17    PAGE, YOU CAN HAVE TIME TO READ IT IF YOU'D LIKE, BUT

     18    THERE IS A LOT OF INFORMATION ON THAT PAGE DISCUSSING THAT

     19    TETRAMETHYL BISPHENOL F; ISN'T THERE?

     20    A.     YEAH, AND THAT'S BY DESIGN.

     21    Q.     OKAY, AND AS A -- AND AS THIS, YOU WOULD AGREE WITH

     22    ME THAT THAT IS A -- HOW WOULD YOU DESCRIBE THAT AS A --

     23    WE'VE TALKED ABOUT MONOMERS AND POLYMERS AND CROSS-LINKING

     24    AGENTS, HOW WOULD YOU DESCRIBE THAT, WHAT'S THAT REFER

     25    TO?




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      1    A.     TMBPF ACTUALLY ISN'T A MONOMER THE WAY WE USE IT,

      2    IT'S A PRECURSOR TO A MONOMER THAT WE USE.

      3    Q.     OKAY, AND AS FAR AS THAT TMBPF, THAT'S ONE OF THE

      4    COMPONENTS IN SOME OF THESE DOCUMENTS THAT YOU HAVE SAID

      5    ARE TRADE SECRETS TODAY; IS THAT RIGHT?

      6    A.     THAT'S A COMPONENT OF THE EPOXY.

      7    Q.     A COMPONENT, A LARGE COMPONENT, IN TWO OF THESE

      8    DOCUMENTS THAT YOU CLAIM TO BE A TRADE SECRET TODAY?

      9    A.     IT'S, IT'S A, IT'S A WAY TO GET TO MAKE AN EPOXY

     10    RESIN WITHOUT USING BPA, AND THEN THERE'S A LOT OF OTHER

     11    MATERIALS WHICH ARE NEEDED IN ORDER TO BE ABLE TO MAKE IT

     12    PERFORM.

     13    Q.     SO LET'S JUST, SINCE I MAY NOT HAVE ASKED A GOOD

     14    QUESTION THERE, BUT LET'S, LET'S, YOU KNOW, WHEN WE'RE

     15    TALKING ABOUT 23A, 23B THAT HAVE BEEN ADMITTED, WE'VE GOT

     16    TMBPF-DGE XXXXXXXXXXXXXXX, OR IS THAT ONE OF THE --

     17                 COURT REPORTER:     COULD YOU REPEAT, YOU SAID THE

     18    TMBPF, AND THEN I DIDN'T UNDERSTAND YOU AFTER THAT.

     19                 MR. SHIPLEY:    ALL RIGHT, MS. BRADLEY.

     20    Q.     XXXXXXXXXXXXXXXXXXXXX, IS THAT THE CORRECT NUMBER?

     21    A.     YEAH; IF IT'S ON THAT PAGE, YES.

     22    Q.     AND THAT'S ONE OF THE LARGEST PORTIONS OF THE

     23    COMPOSITION OF THAT --

     24                 MR. HUNTER:    OBJECTION, YOUR HONOR.      CAN WE

     25    SIDE BAR, PLEASE?




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      1                  THE COURT:     ALL RIGHT.

      2          (SIDE BAR CONFERENCE)

      3                  THE COURT:     I SHOW EVERYBODY CONNECTED AT THIS

      4    POINT.     CAN YOU HEAR ME?

      5                  MR. SHIPLEY:     YES, YOUR HONOR.

      6                  THE COURT:     ALL RIGHT.   MR. HUNTER, WHAT'S THE

      7    ISSUE?

      8                  MR. HUNTER:     YOUR HONOR, MR. SHIPLEY IS

      9    REFERRING TO PRECISE AMOUNTS OF INGREDIENTS AND

     10    PERCENTAGES THAT THE WITNESS JUST TESTIFIED ARE TRADE

     11    SECRETS, AND WE WOULD PREFER THAT HE REFER TO THOSE IN

     12    MORE GENERAL FASHION RATHER THAN THE EXACT NUMBERS.

     13                  THE COURT:     MR. SHIPLEY, ARE YOU SUGGESTING

     14    THESE NUMBERS ARE IN THIS ARTICLE?

     15                  MR. SHIPLEY:     NO, YOUR HONOR, THAT'S NOT WHAT I

     16    WAS SUGGESTING AT ALL.        I'M JUST SUGGESTING THAT TALKING

     17    ABOUT THE -- ONE OF THE COMPOSITION ELEMENTS WAS LISTED IN

     18    THE ARTICLE AND DESCRIBED IN THE ARTICLE AND IS A HUGE

     19    PORTION OF THE COMPOSITION OF THE ALLEGED TRADE SECRET,

     20    AND I DON'T HAVE ANY PROBLEM WITH NOT REFERRING TO THE

     21    NUMBERS.

     22                  THE COURT:     ALL RIGHT.   I THINK YOU CAN DO ALL

     23    THAT WITHOUT REFERRING TO THE NUMBER.

     24                  DOES THAT COVER YOUR OBJECTION, MR. HUNTER?

     25                  MR. HUNTER:     YEAH, I THINK SO.   IF HE NEEDS TO




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      1    PULL UP A DOCUMENT THAT'S ONE OF OUR EXHIBITS AND HOLD IT

      2    UP AND POINT TO A NUMBER AND JUST SAY, THIS NUMBER RIGHT

      3    HERE, THAT'S FINE.

      4                 THE COURT:     ALL RIGHT.   THANK YOU.

      5           (END OF SIDE BAR)

      6                 THE COURT:     MR. SHIPLEY, YOU CAN CONTINUE.

      7                 MR. SHIPLEY:     THANK YOU, SIR.

      8    BY MR. SHIPLEY:

      9    Q.      MR. MALLEN, I'M GOING TO SWITCH GEARS A BIT AND TALK

     10    TO YOU A LITTLE BIT ABOUT SOME OF THE TESTIMONY THAT

     11    YOU'VE TALKED ABOUT EARLIER ABOUT YOUR EXPERIENCE SPEAKING

     12    WITH DR. YOU AND COCA-COLA.       I BELIEVE YOU DESCRIBED

     13    EARLIER AS HER BEING AGGRESSIVE OR HER BEING, EXCUSE ME,

     14    HER JUST WANTING MORE INFORMATION, IS THAT RIGHT, FROM

     15    YOU?

     16    A.      I POSSIBLY SAID, YOU KNOW, DEMANDING IN AN AREA

     17    WHICH WAS INCONSISTENT WITH THE ROLE OF HER POSITION.

     18    Q.      NOW, AS FAR AS THE ROLE OF HER POSITION, THAT ROLE

     19    WOULD BE DEFINED BY COCA-COLA; WOULDN'T IT?

     20    A.      IT, IT WOULD.

     21    Q.      SO WITH REGARD TO HER BEING, WITH REGARD TO HER

     22    WANTING ADDITIONAL INFORMATION, THAT'S SOMETHING THAT SOME

     23    OF THESE COMPANIES THAT YOU'RE SUBMITTING THIS, THESE

     24    FORMULAS TO, SO THOSE COMPANIES NEED INFORMATION; WOULDN'T

     25    YOU AGREE WITH THAT?




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      1    A.       WHEN WE CONTACTED OTHER PEOPLE WITHIN COCA-COLA AND

      2    ASKED THEM IF SHE NEEDED THIS INFORMATION, THEY TOLD US

      3    NO.

      4    Q.       BUT ONE OF HER SUPERVISORS, ONE OF HER SUPERVISORS I

      5    THINK YOU SAID EARLIER WAS, WAS THREATENING YOU; IS THAT

      6    RIGHT?

      7    A.       NO, SHE WASN'T THREATENING US, SHE WAS SUPPORTING

      8    SHANNON IN HER DEMANDS.

      9    Q.       OKAY.   SO JUST FOR THE SAKE OF ARGUMENT, YOU'RE

     10    SAYING THAT DR. YOU WAS THREATENING, AS YOU SAY, AND HER

     11    SUPERVISOR IS SUPPORTING THAT, ISN'T THAT PERSON ADOPTED,

     12    IN ESSENCE, JUST DOING THE SAME THING?

     13    A.       BUT I WOULD SAY FROM A STEP BACK.      IN OTHER WORDS,

     14    SHE --

     15    Q.       FROM A HIGHER POSITION; RIGHT?

     16    A.       A HIGHER POSITION AND IN THE BACKGROUND.

     17    Q.       FROM A HIGHER POSITION AT COCA-COLA; RIGHT?

     18    A.       YES.

     19    Q.       HOW FAMILIAR ARE YOU WITH THE SUBSTANCE OF, OF

     20    PATENTS REGARDING SOME OF THESE MONOMERS AND OTHER, OTHER

     21    INGREDIENTS TO THESE RECIPES, HOW FAMILIAR ARE YOU WITH --

     22    I KNOW WE'VE TALKED ABOUT ONE PATENT, HOW FAMILIAR ARE YOU

     23    WITH JUST PATENTS IN GENERAL?

     24    A.       I'M RELATIVELY FAMILIAR WITH THE PATENTS IN OUR

     25    FIELD.




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      1                  MR. SHIPLEY:     NOW, IF WE CAN BRING UP EXHIBIT

      2    NUMBER 71, I BELIEVE.

      3                  THE CLERK:     WITNESS ONLY?

      4                  MR. SHIPLEY:     YES, WITNESS ONLY.   I'M SORRY,

      5    MS. HOPSON.

      6    Q.     NOW, MR. MALLEN, DO YOU RECOGNIZE THIS PATENT?

      7    A.     I BELIEVE SO.

      8    Q.     HAVE YOU READ THIS PATENT BEFORE?

      9    A.     I BELIEVE SO.

     10                  MR. SHIPLEY:     YOUR HONOR, AT THIS TIME I'D LIKE

     11    TO ADMIT AND PUBLISH EXHIBIT NUMBER 71.

     12                  THE COURT:     ANY OBJECTION?

     13                  MR. HUNTER:     NO OBJECTION.

     14                  THE COURT:     ALL RIGHT.   DEFENSE EXHIBIT NUMBER

     15    71 IS ADMITTED, AND IT MAY BE PUBLISHED.

     16    Q.     NOW, IF I WERE TO TELL YOU THAT MANY OF THESE

     17    COMPOSITIONS AND MANY OF THIS, MUCH OF THIS INFORMATION

     18    THAT YOU'VE TESTIFIED TO HERE TODAY IS FOUND WITHIN THIS

     19    PATENT, WOULD YOU AGREE WITH ME?

     20    A.     NOT THE SPECIFIC COMMERCIALLY AVAILABLE MATERIAL

     21    BECAUSE THIS WAS AS OF 2009, FILED IN 2005, FINAL FORMULA

     22    WASN'T EVEN SET YET.

     23    Q.     SO -- BUT WHAT WAS?      IF YOU'RE SAYING THE FINAL

     24    FORMULA WASN'T SET, WAS IT STARTING SOME OF THAT RESEARCH

     25    AND DEVELOPMENT THAT WAS PUT IN HERE?




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      1    A.     THE BASE POLYMER WAS, WAS DISCLOSED IN HERE, BUT NOT

      2    ALL OF THE OTHER INGREDIENTS.

      3    Q.     SO THE BASE POLYMER, SO THAT WOULD BE IMPORTANT

      4    RESEARCH FOR ONE TO KNOW WHEN GETTING A PATENT ON

      5    SOMETHING; WOULDN'T IT?

      6    A.     OH, YEAH.

      7    Q.     SO -- AND WHAT AMOUNT OF MONEY DID YOU SAY EARLIER

      8    THAT YOUR COMPANY HAS SPENT ON R&D, EXCUSE ME, RESEARCH

      9    AND DEVELOPMENT TO CREATE THIS RECIPE?

     10    A.     NOT JUST THIS RECIPE, BUT THE WHOLE PORTFOLIO OF

     11    NON-BPA PRODUCTS.

     12    Q.     SO BY DISCLOSING, WHAT YOU'RE SAYING BY DISCLOSING A

     13    POLYMER, WHICH TYPE OF POLYMER TO USE IN THIS PATENT, THAT

     14    WOULD REDUCE THAT AMOUNT OF MONEY THAT YOU'RE TALKING

     15    ABOUT; WOULDN'T IT?

     16    A.     NO, BECAUSE IT STILL DOESN'T WORK AS A COATING UNTIL

     17    MANY YEARS OF DEVELOPMENT LATER.

     18    Q.     BUT IT'S AN INGREDIENT THOUGH IN THE COATING?

     19    A.     IT'S ONE INGREDIENT.

     20    Q.     RIGHT.    SO YOU HAVE TO DECIDE WHICH INGREDIENT TO

     21    USE?

     22    A.     WE HAVE TO DECIDE WHICH -- IN PATENTING WE HAVE TO

     23    DECIDE WHICH AREA OF TECHNOLOGY WE NEED TO CLAIM IN ORDER

     24    TO BE ABLE TO MOVE FORWARD IN THE DEVELOPMENT OF THIS, OF

     25    THIS MATERIAL.




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      1    Q.     BUT AS FAR AS PICKING THE TYPE OF POLYMER THAT ONE

      2    WOULD USE IN THIS, ISN'T THAT -- DOESN'T THAT TAKE

      3    SIGNIFICANT RESEARCH AND DEVELOPMENT TO DECIDE WHICH

      4    POLYMER YOU WANT TO USE?

      5    A.     SURE, YES.

      6    Q.     AND YOU'RE SAYING THAT BY THAT ALONE, BY PICKING THE

      7    POLYMER TO USE, THAT WOULDN'T HAVE ANY EFFECT ON WHAT YOU

      8    SAID EARLIER ABOUT HOW MUCH MONEY IS SPENT FOR RESEARCH

      9    AND DEVELOPMENT, IS THAT WHAT YOU'RE TELLING THE JURY?

     10    A.     CAN YOU REASK THE QUESTION OR RESTATE IT?

     11    Q.     WELL, LET'S START OVER.      I ASKED YOU EARLIER ABOUT

     12    YOU SAID A CERTAIN AMOUNT THAT YOUR COMPANY VALSPAR HAS

     13    SPENT ON RESEARCH AND DEVELOPMENT?

     14    A.     YES.

     15    Q.     RIGHT.    THEN I WENT AND ASKED YOU ABOUT, I THINK YOU

     16    TESTIFIED EARLIER THAT ONE OF THE POLYMERS AND FOR THE

     17    RECIPE WAS DISCLOSED IN THIS PATENT; IS THAT RIGHT?          ARE

     18    WE ON THE SAME PAGE?

     19    A.     IT'S, IT'S DISCLOSED IN A WAY THAT WOULD MAKE IT

     20    VERY DIFFICULT FOR SOMEONE TO KNOW THAT IS AN ACTUAL

     21    MATERIAL IN THE COMPOSITION.

     22    Q.     DISCLOSED IN A WAY THAT WOULD MAKE IT VERY DIFFICULT

     23    FOR SOMEONE TO KNOW, SO IS IT DISCLOSED OR NOT DISCLOSED?

     24    A.     IT'S, IT'S DISCLOSED IF YOU UNDERSTAND WHAT PORTION

     25    OF IT IS DISCLOSED IN ONE AREA AND WHAT PORTION IS




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      1    DISCLOSED IN ANOTHER AREA, AND THEN TO BRING THOSE

      2    TOGETHER IT WOULD TAKE A LOT OF RESEARCH TO FIGURE OUT

      3    FROM ALL OF THOSE OPTIONS HOW IT WOULD, HOW -- WHAT YOU

      4    WOULD NEED TO DO IN ORDER TO GET IT TO WORK.

      5    Q.     SO THE PROCESS AS YOU'RE TELLING ME RIGHT NOW AND

      6    YOU'RE TELLING THE JURY IS A PROCESS OF SOMETHING THAT YOU

      7    CAN GO AND FIND IT, AND YOU MAY HAVE TO WORK A LITTLE

      8    HARDER TO GET IT, BUT YOU CAN FIND IT BECAUSE IT'S

      9    PUBLICLY AVAILABLE?

     10    A.     FOR THIS POLYMER.

     11    Q.     SO YOU CAN FIND THE POLYMER IN THIS PATENT?

     12    A.     NOT EXPLICITLY, BUT PIECES OF IT THAT COME TOGETHER

     13    AS A PUZZLE.

     14    Q.     SO, SO PUTTING THAT PIECE -- SO LET'S JUST SAY THAT

     15    HYPOTHETICALLY, MR. MALLEN, YOU'VE GOT A PIECE OF THE

     16    PUZZLE OVER HERE ON PAGE 1, YOU'VE GOT A PIECE OF THE

     17    PUZZLE ON PAGE 8, YOU'VE GOT A PIECE OF THE PUZZLE ON PAGE

     18    20, ARE YOU TELLING ME YOU CAN'T PUT THOSE TOGETHER?

     19    A.     AND THEN WHAT YOU HAVE TO DO IS YOU HAVE TO HAVE THE

     20    OTHER PIECES --

     21    Q.     CAN YOU PUT THOSE TOGETHER?

     22                 THE COURT:    LET HIM ANSWER THE QUESTION,

     23    MR. SHIPLEY.

     24    A.     AND THEN WITH ALL OF THOSE VARIABLES, YOU HAVE TO

     25    ADD VARIABLES THAT AREN'T EVEN DISCUSSED IN THIS PATENT IN




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      1    ORDER TO SEE WHETHER ANYTHING ACTUALLY WORKS OR NOT, DOES

      2    IT SPRAY, DOES IT HOLD, DOES IT ADHERE TO THE METAL, DOES

      3    IT HOLD THE PRODUCT, DOES IT LAST ON THE SHELF FOR A YEAR,

      4    OR DOES IT SCAVENGE THE FLAVOR, ALL OF THOSE THINGS HAVE

      5    TO COME TOGETHER.

      6                 MR. SHIPLEY:     YOUR HONOR, I THINK I MAY BE

      7    MOVING ONTO A DIFFERENT SUBJECT IF THE COURT WOULD LIKE TO

      8    PAUSE.

      9                 THE COURT:     ALL RIGHT.   THIS IS PROBABLY A GOOD

     10    TIME TO BREAK FOR LUNCH.

     11                 LADIES AND GENTLEMEN, I DON'T KNOW HOW LONG IT

     12    TOOK YOU ANY OTHER DAY THIS WEEK, BUT IF WE COULD RESUME

     13    IN ABOUT AN HOUR, IT WOULD HELP US TRY TO GET YOU OUT OF

     14    HERE A LITTLE BIT EARLY THIS AFTERNOON.         WE HAVE ONE MORE

     15    WITNESS AFTER MR. MALLEN; SO IF YOU CAN BE BACK IN ABOUT

     16    50 MINUTES OR SO SO THAT WE CAN START RIGHT AROUND 1:30,

     17    IT WOULD BE HELPFUL; BUT I DON'T WANT ANYBODY TAKING ANY

     18    RISKS OR GET A SPEEDING TICKET OR ANYTHING LIKE THAT

     19    TRYING TO DO THAT.     I GUESS WHAT I'M SAYING IS GET BACK AS

     20    SOON AS YOU CAN, AND IF YOU'RE HERE AND IF WE'RE READY, WE

     21    CAN TRY TO GET STARTED BACK AT 1:30 AND TRY TO MOVE ON

     22    THROUGH THIS SO THAT WE CAN RECESS TODAY A LITTLE BIT

     23    EARLIER THAN USUAL.

     24                 PLEASE REMEMBER MY INSTRUCTIONS ABOUT YOUR

     25    CONDUCT AS JURORS.     YOU ARE NOT TO DISCUSS THIS CASE WITH




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      1    ANYONE NOR ARE YOU TO PERMIT ANYONE TO DISCUSS THE CASE

      2    WITH YOU.    DO NOT ALLOW ANYONE TO DISCUSS THE CASE IN YOUR

      3    PRESENCE.    DO NOT READ OR LISTEN TO ANYTHING TOUCHING ON

      4    THIS CASE IN ANY WAY.      DO NOT DO ANY RESEARCH OR

      5    INVESTIGATION ABOUT THE CASE ON YOUR OWN, AND, VERY

      6    IMPORTANTLY, KEEP AN OPEN MIND ABOUT THE ISSUES IN THE

      7    CASE UNTIL YOU HAVE HEARD ALL THAT THERE IS TO HEAR AND

      8    YOU RETIRE TO THE JURY ROOM TO DELIBERATE YOUR VERDICT.

      9                  ALL RIGHT.     I'LL SEE YOU AS CLOSE TO 1:30 AS WE

     10    CAN GET STARTED.

     11            (JURY NOT PRESENT)

     12                  THE COURT:     ALL RIGHT.   LET'S TRY TO START BACK

     13    AROUND 1:30.

     14            (RECESS AT 12:34 P.M., UNTIL 1:42 P.M.)

     15            (JURY NOT PRESENT)

     16                  THE COURT:     ALL RIGHT.   IT LOOKS LIKE WE'RE

     17    READY FOR THE JURY.

     18            (JURY PRESENT)

     19                  THE COURT:     ALL RIGHT, LADIES AND GENTLEMEN, I

     20    HOPE YOU ENJOYED YOUR LUNCH.       WE'RE READY TO GET BACK TO

     21    WORK.

     22                  MR. SHIPLEY, CONTINUE WITH YOUR CROSS

     23    EXAMINATION.

     24                  MR. SHIPLEY:     THANK YOU, JUDGE.

     25    BY MR. SHIPLEY:




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      1    Q.     NOW, MR. MALLEN, COULD YOU EXPLAIN A LITTLE BIT IN

      2    DETAIL ABOUT A NOTICE, A 287 NOTICE FOR PATENTS, COULD YOU

      3    TALK A LITTLE BIT ABOUT THAT, PLEASE?

      4    A.     I DON'T KNOW WHAT THAT IS.

      5    Q.     SO AS FAR AS, YOU KNOW, WE TALKED A LITTLE BIT

      6    EARLIER ABOUT YOUR FAMILIARITY WITH PATENTS, BUT AS FAR AS

      7    HAVING A 287 NOTICE, DO YOU KNOW IF THAT'S A REQUIREMENT

      8    OR NOT WHEN FILING A PATENT?

      9    A.     NO, I DON'T.

     10    Q.     AND I THINK ONE OF THE, YOU KNOW, ONE OF THE

     11    PRODUCTS THAT WE'VE BEEN TALKING ABOUT HERE TODAY IS YOUR

     12    COMPANY'S, I THINK IT'S V40; IS THAT RIGHT?

     13    A.     CORRECT.

     14    Q.     AND WOULD IT SURPRISE YOU TO KNOW THAT ON ONE OF

     15    THESE 287 NOTICES THAT THIS V40, THE PROCESS IS LISTED ON

     16    THAT 287 NOTICE AS PUBLICLY AVAILABLE?

     17    A.     I DON'T KNOW WHAT IT IS.

     18    Q.     NOW, SPEAKING OF THE PATENT I'M JUST TALKING

     19    ABOUT -- WOULD YOU PULL UP EXHIBIT NUMBER 71.         NOW, WOULD

     20    YOU AGREE WITH ME THAT THIS PATENT HERE, THAT YOU CAN MAKE

     21    A COMMERCIAL PRODUCT WITH THIS PATENT?

     22    A.     WITH THOUSANDS OF VARIABLES I WOULD SAY THAT YOU

     23    COULD GET VERY CLOSE, HOWEVER, I'LL ANSWER THAT BECAUSE

     24    THE V40Q SYSTEM YOU'RE TALKING ABOUT EXISTS RIGHT NOW IN

     25    ABOUT 13 DIFFERENT VARIANTS, ALL OF WHICH HAVE BEEN




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      1    DEVELOPED LONG AFTER THIS PATENT WAS PUT IN FORCE.

      2    Q.     SO IF YOU WILL, IF YOU'LL LOOK WITH ME, LET'S GO

      3    OVER IT A LITTLE BIT.      WITH REGARD TO -- NOW, I'LL BACK UP

      4    A SECOND.     SO DID YOU SAY YOU CAN MAKE A COMMERCIAL

      5    PRODUCT WITH THIS, THIS PATENT?

      6    A.     IF YOU WORK THROUGH THOUSANDS, MAYBE EVEN TENS OF

      7    THOUSANDS OF VARIATIONS.

      8    Q.     SO, I MEAN, SO THIS IS -- SO THIS PATENT HERE, IT

      9    DESCRIBES A PROCESS; IS THAT RIGHT?

     10    A.     YES.

     11    Q.     SO IF YOU'LL LOOK WITH ME AND JUST MAKE SURE I'M

     12    READING THIS CORRECTLY ON 21, IF YOU'LL LOOK AT -- IF

     13    YOU'LL LOOK AT THIS CHART RIGHT HERE WHEN WE TALK ABOUT

     14    THE PROCESS, WOULD YOU DESCRIBE, WOULD YOU AGREE WITH ME

     15    THAT THESE RIGHT HERE ARE COMPONENTS THAT WOULD GO INTO

     16    THIS FORMULA?

     17    A.     IN THE 40Q60 -- THIS IS NOT THE ACTUAL FORMULA.

     18    Q.     NO, I'M ASKING, THIS IS, BASICALLY THIS WOULD BE,

     19    THIS WOULD BE WHERE TO BUY THIS STUFF; IS THAT RIGHT?

     20    A.     I'M SORRY?

     21    Q.     WHERE TO BUY -- LET ME BACK UP A SECOND.         ON THE

     22    LEFT SIDE OVER HERE IT SAYS, CHEMICAL NAME, SO THESE ARE

     23    SOME COMPONENTS IN THIS FORMULA; CORRECT?

     24    A.     SOME OF THEM ARE, YES.

     25    Q.     SO RAW MATERIALS; FAIR ENOUGH?




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      1    A.       SOME OF THEM ARE RAW MATERIALS.

      2    Q.       AND WHAT THIS DOES OVER HERE, IF YOU LOOK OVER HERE

      3    IN THIS COLUMN, IT SHOWS YOU WHERE TO BUY IT; IS THAT

      4    RIGHT?

      5    A.       IT SHOWS YOU AN OPTION AT THAT TIME, YES.

      6    Q.       OKAY, AND THEN IF YOU TURN OVER TO, AND I'M TALKING

      7    ABOUT THE PROCESS, SO IF YOU TURN OVER TO PAGE 23, WHAT

      8    YOU LOOK AT HERE IS THAT IN EXAMPLE 1, IT ACTUALLY SAYS,

      9    THE PREPARATION OF THE ACID AND THE ACRYLIC, THAT'S RIGHT,

     10    ISN'T IT, SO IT ACTUALLY TELLS YOU THROUGH THESE

     11    PARAGRAPHS HOW TO MAKE THE ACID AND THE ACRYLIC?

     12    A.       IT TELLS YOU HOW TO MAKE AN ACID FUNCTIONAL ACRYLIC,

     13    NOT NECESSARILY THE FUNCTIONAL, ACID FUNCTIONAL ACRYLIC.

     14    Q.       OKAY, AND GOING BACK TO THESE Q40 PRODUCTS THAT

     15    WE'RE TALKING ABOUT AND -- WELL, STRIKE THAT, I'M NOT

     16    GOING TO GET INTO 287 ANYMORE.

     17                  GOING AND CHANGING GEARS A BIT TALKING ABOUT

     18    TESTING, WOULD IT BE YOUR TESTIMONY THAT CERTAIN, CERTAIN

     19    TESTING CAN BE CONSIDERED TRADE SECRET?

     20    A.       CERTAIN TESTING AND THE WAY IT'S APPLIED AND THE WAY

     21    IT'S INTERPRETED AND THE RESULTS ARE CONSIDERED TRADE

     22    SECRET, YES.

     23    Q.       SO HOW DO YOU -- HOW DOES ONE DO THAT, HOW DOES YOUR

     24    COMPANY DO THAT AS FAR AS THE MANNER AND THE WAY -- THE

     25    MANNER IN WHICH SOMETHING IS TESTED, DO YOU JUST SEND IT




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      1    TO THESE COMPANIES FOR TESTING?

      2    A.     SOMETIMES WE SEND IT OUT TO COMPANIES FOR TESTING,

      3    OTHER -- BUT MAINLY WE TEST IN-HOUSE.

      4    Q.     MAINLY YOU TEST IN-HOUSE, BUT SOME PRODUCTS YOU DO

      5    SEND OUT?

      6    A.     YES.

      7    Q.     NOW, ARE YOU AWARE OF THE AMERICAN SOCIETY FOR

      8    TESTING AND MATERIALS?

      9    A.     YES.

     10    Q.     OKAY.   NOW, WHAT IS THAT?     WOULD YOU EXPLAIN THAT TO

     11    THE JURY.

     12    A.     IT'S A -- ASTM IS A STANDARD FOR CERTAIN TESTS THAT

     13    HAVE BEEN VALIDATED THROUGH MULTIPLE LABORATORIES AND HAVE

     14    BEEN PUBLISHED SO THAT THE INDUSTRY OR ANYONE CAN USE

     15    THOSE AS STANDARD TEST METHODS.

     16    Q.     NOW, DO YOU USE THEM?

     17    A.     SURE.

     18    Q.     OKAY.   AND WITH REGARD TO PRODUCTS THAT WE'VE TALKED

     19    TODAY ABOUT, V40 AND V70, DO YOU USE THE ASTM TO TEST

     20    THOSE PRODUCTS?

     21    A.     WE USE A FEW, YES.

     22    Q.     AND CAN ANYONE SUBMIT MATERIAL TO THAT ORGANIZATION

     23    FOR TESTING?

     24    A.     SO I DON'T BELIEVE THAT ORGANIZATION DOES ANY

     25    TESTING, PER SE.     THEY SET THE STANDARDS FOR THE TESTING,




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      1    BUT YOU CAN SEND IT OUT AND SPECIFY TO THE TESTING

      2    CONTRACT LAB THAT WE WANT THIS DONE, WE WANT THIS TESTED

      3    ACCORDING TO ASTM 95C OR WHATEVER IT IS.

      4    Q.     AND TELL ME ABOUT THOSE RESULTS FROM THOSE TESTING,

      5    DO YOU SEND OUT NON-DISCLOSURE AGREEMENTS WITH THEM ON THE

      6    FINDINGS, OR, YOU KNOW, CAN ANYONE JUST SUBMIT ANY TESTING

      7    MATERIAL?

      8    A.     WE -- ANY CONTRACT RESEARCH ORGANIZATION HAS TO SIGN

      9    A NON-DISCLOSURE STATEMENT IN ORDER TO RECEIVE OUR

     10    BUSINESS.

     11    Q.     AND I WANT TO DRAW YOUR ATTENTION TO EXHIBIT 28A

     12    THAT'S ALREADY BEEN ADMITTED.

     13                   MAY I HAVE A MOMENT, YOUR HONOR?

     14                   THE COURT:   YOU MAY.

     15    Q.     NOW, WITHOUT GETTING INTO THE INTRICACIES OF WHAT'S

     16    LISTED HERE, ARE THOSE ACTUAL INGREDIENTS?         YOU CALLED

     17    THIS A RECIPE, SO ARE THOSE ACTUAL INGREDIENTS?

     18    A.     SO --

     19    Q.     OR ARE THEY A TYPE OF INGREDIENT?

     20    A.     THEY ARE -- SO, FOR INSTANCE, IT SAYS, TMBPF-DGE.

     21    THAT IS A, A RESIN, AND IT IS REACTIVE WITH PARTS OF WHAT

     22    THE REST OF THIS MATERIAL IS.

     23    Q.     SO, AND DESCRIBE TO THIS JURY WHAT IS THE IMPORTANCE

     24    OF A CAS NUMBER?

     25    A.     IT'S A, AN INDEX NUMBER THAT IDENTIFIES A PARTICULAR




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      1    CHEMICAL OR IN SOME CASES A CHEMICAL CLASS.

      2    Q.       SO --

      3    A.       IT STANDS FOR CHEMICAL ABSTRACT SERVICE.

      4    Q.       SO GOING DOWN, I THINK YOU SAID THE FIRST INGREDIENT

      5    THERE, DID YOU SAY THAT THAT WAS AN INGREDIENT OR TYPE OF

      6    INGREDIENT?

      7    A.       IT WOULD BE AN INGREDIENT THAT IS, IS REACTIVE WITH

      8    A FORM OF POLYMER.

      9    Q.       NOW, GOING DOWN, YOU SEE WHERE IT SAYS, I GUESS,

     10    ONE, TWO, THREE, THE THIRD ONE?

     11    A.       XXXXXXXXXXXXXXXXXXXXXXXXXXXXX.

     12    Q.       SO WHEN WE TALK ABOUT THAT, DOES THAT HAVE A CAS

     13    NUMBER?

     14    A.       IT DEPENDS, SOMETIMES THEY DO AND SOMETIMES THEY

     15    DON'T.

     16    Q.       FOURTH ONE DOWN, DOES IT HAVE A CAS NUMBER?

     17    A.       NO, THAT'S A TYPE OF A, A CHEMICAL.

     18    Q.       NOW, COULD A SKILLED CHEMIST REPRODUCE WHAT WE SEE

     19    HERE, COULD THEY REPRODUCE V70 FROM JUST THIS EXHIBIT

     20    HERE?

     21    A.       YOU COULD GET VERY, VERY CLOSE.

     22    Q.       BECAUSE I THINK YOU'VE ALREADY STATED THAT IT'S A

     23    PROCESS; ISN'T IT?

     24    A.       THERE'S A PROCESS INVOLVED.

     25    Q.       RIGHT.   AND THE PROCESS IS IMPORTANT; ISN'T IT?




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      1    A.      YES.

      2    Q.      BECAUSE THE PROCESS IS, IS THAT WE'VE GOT XXXXXXXXX

      3    XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX INGREDIENTS IN THIS,

      4    BUT YOU CAN'T JUST PUT ALL THOSE INGREDIENTS IN AT ONE

      5    TIME; CAN YOU?

      6    A.      SOME CHEMISTS WOULD.     IT DOESN'T WORK THAT WAY WITH

      7    THIS.    SO, FOR INSTANCE, THIS EXPLAINS THAT THERE'S AN

      8    XXXXXXXXXXXXXXXXXXXXXXXXXXXXX, THE QUESTION SOMEONE WOULD

      9    HAVE TO ANSWER IS, WELL, HOW DOES THAT GET PUT TOGETHER.

     10    Q.      SO JUST TO MAKE SURE WE'RE CLEAR, YOU SAID THAT SOME

     11    CHEMISTS WOULD, BUT YOU DON'T WITH THIS; IS THAT RIGHT?

     12    A.      CORRECT.

     13    Q.      SO THE PROCESS ON THIS RIGHT HERE REGARDING THE

     14    ORDER, IT'S IMPORTANT WHICH INGREDIENT GOES IN FIRST?

     15    A.      AND THAT'S WHY IT'S A TRADE SECRET.

     16    Q.      BUT MY QUESTION IS IS IT IMPORTANT WHICH ONES GOES

     17    IN FIRST?

     18    A.      WHICH ONE GOES IN FIRST?

     19    Q.      YES.

     20    A.      WHICH ONE OF THESE INGREDIENTS GOES IN FIRST?

     21    Q.      YES, SIR.

     22    A.      SO THE TMBPF-DGE AND THE HYDRO -- WELL --

     23    Q.      WELL, AS FAR AS THE ORDER, I MEAN, I'M NOT ASKING

     24    YOU ABOUT THE ORDER, MR. MALLEN, AND I THINK THAT THE

     25    GOVERNMENT PROBABLY WOULD OPPOSE THAT ABOUT THE ORDER,




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      1    WHAT I'M ASKING IS, IS JUST IT'S IMPORTANT TO KNOW WHAT

      2    THE PROCESS IS AND WHICH INGREDIENT TO PUT IN AT WHICH

      3    PARTICULAR TIME?

      4    A.      OH, ABSOLUTELY.

      5                   MR. SHIPLEY:     OKAY.    YOUR HONOR, MAY I HAVE

      6    JUST A MOMENT, PLEASE?

      7                   THE COURT:     YOU MAY.

      8                   MR. SHIPLEY:     YOUR HONOR, NO FURTHER QUESTIONS.

      9    THANK YOU, SIR.

     10                   THANK YOU, MR. MALLEN.

     11    A.      THANK YOU, SIR.

     12                   THE COURT:     ALL RIGHT, MR. HUNTER, YOU MAY

     13    REDIRECT.

     14                   MR. HUNTER:     THANK YOU, YOUR HONOR.

     15                   PULL UP EXHIBIT 28A, PLEASE, IF YOU WOULD.

     16                           REDIRECT EXAMINATION

     17    BY MR. HUNTER:

     18    Q.      MR. MALLEN, YOU REMEMBER THIS DOCUMENT?

     19    A.      YES.

     20    Q.      YOU SAID THIS WAS A TRADE SECRET?

     21    A.      YES.

     22    Q.      NOW, WE JUST LOOKED AT SOME PATENTS, DO YOU REMEMBER

     23    THAT?

     24    A.      YES.

     25    Q.      ANYWHERE IN THOSE PATENTS DID YOU SEE THIS




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      1    INGREDIENT LISTED AT 21.7 PERCENT?

      2    A.      NO.

      3    Q.      DID YOU SEE THE NEXT INGREDIENT LISTED XXXXXX

      4    XXXXXXX?

      5    A.      NO.

      6    Q.      DID YOU SEE THE NEXT INGREDIENT LISTED AT XXX

      7    XXXXXXX?

      8    A.      NO.

      9    Q.      DID YOU SEE THE NEXT INGREDIENT LISTED AT X

     10    XXXXXXX?

     11    A.      NO.

     12    Q.      DID YOU SEE THE NEXT INGREDIENT AND ITS

     13    PERCENTAGE?

     14    A.      NO.

     15    Q.      HOW ABOUT WATER AND ITS PERCENTAGE?

     16    A.      NO.

     17    Q.      HOW ABOUT ORGANIC SOLVENTS AND ITS PERCENTAGE?

     18    A.      NO.

     19    Q.      WE TALKED BRIEFLY ABOUT ASTM TESTS, DO YOU REMEMBER

     20    THAT?

     21    A.      YES.

     22    Q.      I'LL SHOW YOU DEMONSTRATIVE EXHIBIT 35.

     23                   IF WE COULD SWITCH TO THE ELMO.

     24                   NOW, YOU TESTIFIED THAT EXHIBITS 28A, B, C,

     25    28E, WHICH WAS AN ATTACHMENT TO EXHIBIT 28D, AND 8F WERE




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      1    SHERWIN-WILLIAMS TRADE SECRETS; CORRECT?

      2    A.     YES.

      3    Q.     WERE ANY OF THOSE ASTM TESTS?

      4    A.     NO.

      5    Q.     I'D LIKE TO SHOW YOU WHAT THE DEFENSE MARKED AS

      6    EXHIBIT 77.    DO YOU REMEMBER THIS?

      7    A.     YES.

      8    Q.     WHO ARE THE, WHO ARE THE AUTHORS OF THIS ARTICLE?

      9    A.     TERESA MCGRATH IS A TOXICOLOGIST WHO WORKED FOR

     10    VALSPAR IN THE MINNEAPOLIS OFFICE IN THE REGULATORY

     11    AFFAIRS GROUP AND BOB ISRAEL WAS THE VICE-PRESIDENT OF

     12    THAT REGULATORY AFFAIRS GROUP.

     13    Q.     DO THEY STILL WORK FOR SHERWIN-WILLIAMS?

     14    A.     TERESA DOES NOT.     BOB ISRAEL DOES.

     15    Q.     LET'S GO TO PAGE 3 OF THIS DOCUMENT.        SEE WHERE IT

     16    SAYS, LAST, RATHER THAN CLAIM THIS NEW MOLECULE AND

     17    COATING AS TRADE SECRET, VALSPAR THOROUGHLY PROTECTED THE

     18    INTELLECTUAL PROPERTY WHICH INCLUDES 49 PATENTS.          IS IT

     19    TRUE AS STATED HERE THAT VALSPAR DOESN'T USE TRADE SECRETS

     20    TO PROTECT THESE COATINGS?

     21    A.     NO.

     22    Q.     WHY DON'T THESE PEOPLE KNOW THAT, THEY WORK AT

     23    SHERWIN-WILLIAMS; RIGHT?

     24    A.     CORRECT.    THEY DO NOT HAVE INTIMATE KNOWLEDGE OF THE

     25    PACKAGING BUSINESS AND THE PACKAGING METHOD OF PROTECTING




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      1    ITS INTELLECTUAL PROPERTY.

      2    Q.       DO THEY EVEN KNOW THAT THOSE EXHIBITS WE JUST

      3    REVIEWED AND YOU TESTIFIED WERE TRADE SECRETS EXIST?

      4    A.       NO.

      5    Q.       SO THOSE TRADE SECRETS ARE SO SECRET THAT THOSE

      6    OTHER SHERWIN-WILLIAMS EMPLOYEES WHO PUBLISHED THIS

      7    ARTICLE AND SAID SHERWIN-WILLIAMS DOESN'T USE TRADE

      8    SECRETS, THEY DON'T EVEN KNOW THAT THOSE TRADE SECRETS

      9    EXIST?

     10    A.       CORRECT.

     11    Q.       AND ONE OF THEM IS STILL A SHERWIN-WILLIAMS

     12    EMPLOYEE; CORRECT?

     13    A.       YES.

     14                    MR. HUNTER:     NO FURTHER QUESTIONS, YOUR

     15    HONOR.

     16                    THE COURT:     ANY RECROSS ON THOSE SUBJECTS, MR.

     17    SHIPLEY?

     18                    MR. SHIPLEY:     YES, YOUR HONOR.

     19                            RECROSS EXAMINATION

     20    BY MR. SHIPLEY:

     21    Q.       YOU SAID THOSE TWO INDIVIDUALS, ARE YOU A HIGHER UP

     22    EMPLOYEE THAN THOSE INDIVIDUALS?

     23    A.       I'M AT THE SAME LEVEL AS BOB ISRAEL RIGHT NOW.

     24    Q.       SO WERE THOSE, WERE THOSE EMPLOYEES -- I MEAN, ARE

     25    YOU INSINUATING THAT WHAT WAS STATED IN THAT PARAGRAPH




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      1    MR. HUNTER JUST READ TO YOU, THAT THAT'S FALSE?

      2    A.       SO IT'S PARTIALLY TRUE IN THAT WE CHOSE NOT TO

      3    MAINTAIN THE, THE MONOMER THAT WE TALKED ABOUT, THE TMBPF,

      4    THE PRECURSOR, THE TMBPF-DGE, AND THE COMONOMER AS, TO

      5    MAKE THE EPOXY RESIN AS A TRADE SECRET, THAT WAS AN

      6    INTENTIONAL POSITION AND POSTURE ON OUR PART TO MAKE SURE

      7    THAT PEOPLE WERE AWARE OF THIS MATERIAL AND HOW SAFE IT

      8    WAS AND THAT THEY DIDN'T FEEL LIKE THEY WERE BEING

      9    DECEIVED OR UNCOMFORTABLE USING IT.        THE REST OF THE

     10    COATING, AS I'VE SAID BEFORE, IS HIGHLY TRADE SECRET

     11    BASED.

     12    Q.       NOW, YOU SAID PARTIALLY TRUE, DID I HEAR YOU SAY

     13    THAT?

     14    A.       YES.

     15    Q.       JUST BY SIMPLE, I'M GOING TO CALL IT MATH, JUST BY

     16    WHAT MAKES SENSE, I GUESS IT'S PARTIALLY TRUE, SO IT'S GOT

     17    TO BE PARTIALLY FALSE, DO YOU AGREE WITH THAT?

     18    A.       LIKE I SAID, IT WAS PARTIALLY TRUE BECAUSE THEY SAID

     19    THAT THE, THE POLYMER AND THE BISPHENOL WERE NOT GOING TO

     20    BE KEPT AS TRADE SECRETS.

     21    Q.       SO --

     22    A.       THE FALSE PART WAS THE COATING.

     23    Q.       IF SOMETHING IS PARTIALLY TRUE, IT MEANS IT'S EITHER

     24    PARTIALLY FALSE OR IT'S NOT FULLY TRUE; FAIR ENOUGH?

     25    A.       NO.     THE FIRST PART --




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      1    Q.     SO WHAT --

      2                 THE COURT:     BOTH OF YOU CAN'T TALK AT ONCE.

      3    ASK YOUR QUESTION AGAIN, MR. SHIPLEY.

      4    Q.     SO IF SOMETHING IS PARTIALLY TRUE, THAT WOULD MEAN

      5    THAT IT'S NOT FULLY TRUE; RIGHT?

      6    A.     CORRECT.

      7    Q.     SO SOMETHING IS MISSING FROM THAT; RIGHT?

      8    A.     CORRECT.

      9    Q.     SO, I MEAN, IS SHERWIN-WILLIAMS IN THE BUSINESS OF

     10    SENDING ARTICLES OUT THAT ARE JUST PARTIALLY TRUE?

     11                 MR. HUNTER:     OBJECTION, YOUR HONOR, MISSTATES

     12    THE TESTIMONY.

     13                 MR. SHIPLEY:     WITHDRAW.    NO FURTHER QUESTIONS.

     14                 THE COURT:     ALL RIGHT.    MR. MALLEN, THANK YOU

     15    VERY MUCH.    YOU MAY BE EXCUSED.

     16    A.     THANK YOU, YOUR HONOR.

     17    I CERTIFY THAT THE FOREGOING IS A CORRECT TRANSCRIPT FROM

     18    THE RECORD OF PROCEEDINGS IN THE ABOVE-ENTITLED MATTER.

     19

     20
           KAREN J. BRADLEY/S                                04/17/2021
     21    SIGNATURE OF COURT REPORTER                       DATE

     22

     23

     24

     25




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